               Case 3:22-cv-00985-SI        Document 16            Filed 08/17/22   Page 1 of 101




     ELLEN F. ROSENBLUM
     Attorney General
     NATHANIEL AGGREY #172283
     Assistant Attorney General
     Department of Justice
     1162 Court Street NE
     Salem, OR 97301-4096
     Telephone: (503) 947-4700
     Fax: (503) 947-4791
     Email: Nathaniel.Aggrey@doj.state.or.us

     Attorneys for Defendants Oregon Judicial Department, Emerson, Kamins, Liniger, Mooney, Steele,
     and Wise




                                   IN THE UNITED STATES DISTRICT COURT

                                       FOR THE DISTRICT OF OREGON


      TIMOTHY ROTE,                                         Case No. 3:22-cv-00985-SI

                      Plaintiff,                            DECLARATION OF NATHANIEL AGGREY
                                                            IN SUPPORT OF DEFENDANTS' MOTION
                                                            TO DISMISS
              v.

     OREGON JUDICIAL DEPARTMENT,
     OREGON STATE BAR PROFESSIONAL
     LIABILITY FUND, HON. ANN LININGER,
     HON. ALISON EMERSON, HON.
     JOSEPHINE MOONEY, HON.
     JACQUELINE KAMINS, HON. KATHIE
     STEELE, CAROL BERNICK, MEGAN
     LIVERMORE, MICHAEL WISE, JEFFREY
     EDELSON, DESCHUTES COUNTY
     SHERIFF’S DEPARTMENT, MATTHEW
     YIUM, NATHAN STEELE, WARD
     GREENE, ANTHONY ALBERTAZZI, JOHN
     DOES (1-5),

                      Defendants.


              I, Nathaniel Aggrey, declare and say:


Page 1 -   DECLARATION OF NATHANIEL AGGREY IN SUPPORT OF DEFENDANTS'
           MOTION TO DISMISS
           NA3/cbh/527224267                        Department of Justice
                                                    1162 Court Street NE
                                                   Salem, OR 97301-4096
                                            (503) 947-4700 / Fax: (503) 947-4791
               Case 3:22-cv-00985-SI         Document 16             Filed 08/17/22   Page 2 of 101




              1.      I am an attorney licensed to practice law in the State of Oregon. I am assigned to

     represent the State defendants in the above-captioned case.

              2.      Attached to this declaration is a true copy of plaintiff’s complaint in Rote v.

     Committee on Judicial Conduct et al, U.S. District Court of Oregon case no. 3:19-CV-01988. In

     that case, plaintiff sued the Oregon Judicial Department (OJD), and state court Judges Herndon,

     Egan, and Steele.

              3.      Attached to this declaration is a true copy of the Court Opinion and Order in Rote

     v. Committee on Judicial Conduct et al, U.S. District Court of Oregon case no. 3:19-CV-01988.

     The Court dismissed all claims asserted against OJD and Judges Herndon, Egan, and Steele.



              I declare under penalty of perjury that the foregoing is true and correct.

              EXECUTED on August          17 , 2022.


                                                               s/ Nathaniel Aggrey
                                                            NATHANIEL AGGREY
                                                            Assistant Attorney General




Page 2 -   DECLARATION OF NATHANIEL AGGREY IN SUPPORT OF DEFENDANTS'
           MOTION TO DISMISS
           NA3/cbh/527224267                          Department of Justice
                                                      1162 Court Street NE
                                                     Salem, OR 97301-4096
                                              (503) 947-4700 / Fax: (503) 947-4791
                  Case 3:22-cv-00985-SI          Document 16        Filed 08/17/22       Page 3 of 101


Bennett-Hunter Carolyn

From:                              info@ord.uscourts.gov
Sent:                              Monday, August 9, 2021 9:54 PM
To:                                nobody@ord.uscourts.gov
Subject:                           Activity in Case 3:19-cv-01988-SI Rote v. Committee on Judicial Conduct and Disability
                                   of the Judicial Conference of the United States et al Amended Complaint



*CAUTION EXTERNAL EMAIL* This email originated from outside of DOJ. Treat attachments and links with caution. *CAUTION
EXTERNAL EMAIL*



This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to this e-mail
because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if
receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges,
download a copy of each document during this first viewing. However, if the referenced document is a transcript, the
free copy and 30 page limit do not apply.

                                                    U.S. District Court

                                                    District of Oregon

Notice of Electronic Filing

The following transaction was entered on 8/9/2021 at 9:53 PM PDT and filed on 8/9/2021
                    Rote v. Committee on Judicial Conduct and Disability of the Judicial Conference of the United States
Case Name:
                    et al
Case Number:        3:19-cv-01988-SI
Filer:              Timothy C. Rote
Document
                    51
Number:

Docket Text:
Second Amended Complaint . Filed by Timothy C. Rote against All Defendants. (Rote,
Timothy)


3:19-cv-01988-SI Notice has been electronically mailed to:

Joseph C. Arellano     joseph.arellano@foster.com, erika.wedenoja@foster.com

Matthew J. Yium      matthew.yium@foster.com, erika.wedenoja@foster.com

Nathaniel Aggrey nathaniel.aggrey@doj.state.or.us, Carolyn.Bennett-Hunter@doj.state.or.us,
Debbie.Sword@doj.state.or.us

Timothy C. Rote      timothy.rote@gmail.com
                                                             1
                                                                                             Attachment 1, Page 1 of 50
                 Case 3:22-cv-00985-SI          Document 16       Filed 08/17/22   Page 4 of 101


3:19-cv-01988-SI Notice will --
                             not be electronically mailed to:

Paul Cirino
U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
555 Fourth Street, NW
Washington, DC 20530

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:Not Available
Electronic document Stamp:
[STAMP ordStamp_ID=875559790 [Date=8/9/2021] [FileNumber=7528718-0] [8
39e58dbefc1c3bafb30b15b20516324105627af8bd8065a258b6dbd0327c4acccfb184
720361ed1662bccfa86355bdefe2e19dce672f7fc982c4673faf2b353]]




                                                            2
                                                                                      Attachment 1, Page 2 of 50
       Case
       Case3:22-cv-00985-SI
            3:19-cv-01988-SI Document
                             Document16
                                      51 Filed
                                          Filed08/17/22
                                                08/09/21 Page
                                                          Page51ofof101
                                                                     48




Timothy C. Rote
24 790 SW Big Fir Rd.
West Linn, OR 97068
Phone: (503) 702-7225
E-Mail: timothy.rote@gmail.com
Pro Se Plaintiff




                         UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON



TIMOTHY ROTE,                              ase No.: 3:19-CV-01988

      Plaintiff,                          SECOND AMENDED CIVIL RIGHTS
                                           OMPLAINT:
      vs.
                                                2 U.S.C. § 1983: FIRSTAND FOURTEENTH
COMMITTEE ON JUDICIAL CONDUCT                   MENDMENTS;
AND DISABILITY OF THE JUDICIAL
CONFERENCE OF THE UNITED STATES,                2 U.S.C. § 1985: CONSPIRACY;
UNITED STATES DEPARTMENT OF
JUSTICE, OREGON JUDICIAL                        8 U.S.C. § 2201 AND § 2202: OTHER
DEPARTMENT, OREGON STATE BAR and                  LIEF;
PROFESSIONAL LIABILITY FUND,
COLORADO JUDICIAL DEPARTMENT,                   REGON CONSTITUTION ARTICLE I, §8,
THE HON. ROBERT KUGLER, THE HON. §lOAND §20;
MICHAEL MOSMAN, THE HON. PAUL
PAPAK, THE HON. ELIZABETH
WEISHAUPL,THE HON. ROBERT
HERNDON,THE HON. JAMES EGAN, THE
HON. BILLY WILLIAMS (in his official
capacity as U.S. Attorney and chieflaw official
in Oregon), THE HON. MARCO                         Y TRIAL REQUESTED
HERNANDEZ, THE HON. KATHIE STEELE,
CAROL BERNICK (in her official capacity as
CEO of the OSBPLF), NANCY WALKER and
JOHN DOES (1-5), et al.,

      Defendants.




PAGE 1.     COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                    Attachment 1, Page 3 of 50
         Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                               Document16
                                        51 Filed
                                            Filed08/17/22
                                                  08/09/21 Page
                                                            Page62ofof101
                                                                       48




                                          PREAMBLE

        Mark Ciavarella, a Judge of the Pennsylvania Court of Common Pleas, accepted nearly

$3 million in kickbacks from the owner and builder of two private prisons that housed juvenile

inmates. In exchange, he sentenced children to long stays in juvenile detention for minor

offenses. He was convicted of racketeering, money-laundering, mail fraud, tax fraud, and

conspiracy to defraud the United States and was sentenced to 28 years in prison. Subsequent to

the Judges conviction, the defendants (including the defendants who paid the bribe and state

government bodies responsible for overseeing the juvenile programs) entered into a $17 Million

settlement in favor of the Plaintiffs.

        The acts of collusion and conspiracy by the defendants were designed to hurt plaintiff and

his family over a pronounced period of 18 years. The retaliatory acts are unlawful,

unconstitutional, substantially unprotected by judicial immunity and are something one migt

expect in a third world country. But they happened here. The story follows.

        In 2002 three executives of a company owned by Plaintiff started a competing company

in Wilmington Delaware. Max Zweizig was the lowest ranking executive of the three. Rote

became aware of the plot, a breach of the executives' employment agreement, stopped the plan

and removed the ring leader. Zweizig was allowed to stay. Six months later, Zweizig staged a

failure of a 120 gig hard drive, a component of a business computer he used from his home in

New Jersey. Four months after that Zweizig attempted to extort a raise to complete data

processing and return records five months overdue and owed to Allstate (a client of his

employer). By the time of the attempted extortion Zweizig had deleted and otherwise removed

his employer's owned programming from five servers in two locations and the back-up tapes.



PAGE 2.     COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                              Attachment 1, Page 4 of 50
         Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                               Document16
                                        51 Filed
                                            Filed08/17/22
                                                  08/09/21 Page
                                                            Page73ofof101
                                                                       48




Plaintiff Rote passed on the extortion, Zweizig was terminated and the company employer shut

down for a time so that a third party consultant could recreate the critical computer

programming. The body of evidence confirming the extortion and shutdown included email

threats by Zweizig, the testimony by six witnesses and the reports and testimony of three

computer forensic experts (one of which was Zweizigs) who confirmed that Zweizig had in his

possession the programming he claimed did not exist, destroyed the programming on the 120 gig

hard drive by reformatting the hard drive hours before it was returned to Plaintiff on

Zweizig'slast day ..

       In order the shelter the cybercrime and attack on the employer, Zweizig and his girl-

friend (Sandra Ware), devised a plan of alleging that Zweizig had been terminated for filing a

complaint with his employer and the ODJ alleging over-billing of unnamed client(s). The amount

of over-billing was alleged to be some $400, supported by Zweizig and by reference to a

spreadsheet Zweizig claimed he received via an email.

       Zweizig never produced the email in discovery and refused to turn over the digital email

file. The spreadsheet identified no clients and plaintiff refuted the very idea and existence of the

spreadsheet. The month in which this uncorroborated $400 was alleged to have occured (by

Zweizig) Zweizig's employer billed $400,000·.

       Plaintiff contends that had this false allegation been levied against a law firm, claiming in

that case that an unidentified client had been over billed one hour in a month in which the firm

billed 1,000 hours, Zweizig's claim would have been dismissed as lacking evidence, credibility

and materiality. The claim would have also been dismissed in short order, within months, and

Zweizig would likely have ended up in jail for the cybercrime perpetrated on the employer.




PAGE 3. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                                Attachment 1, Page 5 of 50
         Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                               Document16
                                        51 Filed
                                            Filed08/17/22
                                                  08/09/21 Page
                                                            Page84ofof101
                                                                       48




       In the hands ofbiasedjudiciary though, evidence is suppressed and ignored. And when a

class of people (business owners let us say) are denied due process and an independent judge, a

constitutional right of petition has effectively been abridged.

       If judicial immunity truly is to serve as a bulwark of justice, some more clearly defined

limit must be placed on it. Logically this limit must arise from the due process clause itself.

Clothing a judge with immunity simply because he has performed a "judicial act" overlooks the

real-world probability that even judicial acts can be utterly inconsistent with due process.

Important personal rights can be destroyed by the mere nod of a judge' s head. Judges should not

be privileged to violate the rights of citizens unfortunate enough to find themselves in a biased,

corrupt, or irresponsible court. When unjust injuries are inflicted by improper judicial acts, the

state or its insurers should be forced to bear the cost of the wrongful act, not the individual.

Indeed, the history of the 1871 Act reveals that Congress intended to provide just such a remedy.

    COMPLAINT FOR DAMAGES, DECLARATORY AND INJUNCTION RELIEF

       Plaintiff Timothy Rote brings this action for economic, noneconomic and punitive

damages and for declaratory and injunction for relief for the defendants abridging, and

conspiring to abridge the plaintiffs First and Fourteenth Amendment rights of the United States

Constitution and Oregon Constitution.

       Plaintiff acknowledges that some of the actions taken by the identified defendant judicial

actors are official judicial acts, rendering the judicial actor immune from liability. Some of the

acts are not judicial acts and are not immune. With that in mind, however, Plaintiff references

Judge Mosman's decision to remove state Malpractice, Breach and RICO claims from

Clackamas (18cv45257) to Federal Court (3:19-cv-00082) Mosman knowing full well that he did

not have jurisdiction on any action outside of the claim against Nancy Walker. It took two years



PAGE 4.    COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                                 Attachment 1, Page 6 of 50
         Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                               Document16
                                        51 Filed
                                            Filed08/17/22
                                                  08/09/21 Page
                                                            Page95ofof101
                                                                       48




requiring the Plaintiff to appeal this jurisdiction question to the 9th Circuit, with the defendants

all the while licking the ground in abject appreciation for Mosman's abuse.

       What stands in the wake of Judge Mosman's decision is absolute affirmation of a culture

of retaliation against litigants attempting to fight the type of predatory danger to children that

Zweizig represents. Sometimes those acts of protection will lead to a judge being identified as a

perpetrator or in a quid pro quo financial relationship benefitting the judge for protection. Judge

Mosman's decision was made under the umbrella of evidence showing Zweizig was an active

child predator. That evidence was presented in case 3: 15-cv-2401 and in the arbitration from

2004-2011, evidence suppressed from a jury to allow Zweizig to lie about the existence of the

forensic reports and to prevail in those cases.

        On December 21, 2020 Zweizig admitted that he duped the jury and the court. He also

made affirmations of the forensic reports, those reports findings that Zweizig engaged in the

dissemination of child pornography and other criminal acts. One of those reports was generated

by Zweizig's expert Justin McAnn. Even that report was suppressed by the jury.

       As grounds therefor, plaintiff alleges as follows:

                                         INTRODUCTION

    1. Pursuant to 42 U.S.C. § 1983, Plaintiff alleges the deprivation ofrights guaranteed to him

by the First and Fourteenth Amendments to the United States Constitution and Oregon

Constitution Article I, §8, § 10 and §20.

    2. Pursuant to 18 U.S.C. § 1964(c), Plaintiff alleges violations of the Racketeer Influenced

and Corrupt Organizations Act (RICO) and Oregon RICO under ORS 166.720 against all

defendants .

                                 VENUE AND JURISDICTION



PAGE 5.    COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                                  Attachment 1, Page 7 of 50
        Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                                Document16
                                         51 Filed
                                             Filed08/17/22
                                                   08/09/21 Page
                                                             Page106 of 101
                                                                        48




   3. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 (Federal question and Defendant

United States), 1343 (3) and (4), 18 U.S.C. § 1964, 28 U.S.C. § 2201 (creation of a remedy), and

28 U.S.C. § 2202 (further relief) as this action arises under the laws of the United States.This is

an action for injunctive relief and damages for claims brought under 42 U.S.C. § 1983 for the

redress of rights secured by the United States Constitution and for civil violations of the

Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §§ 1961-68 ("RICO").

   4. Venue is proper in this district pursuant to 28 U.S.C. § 1391. Defendants are residents of

multiple States and the District of Columbia, the due process violations occurred in Oregon, New

Jersey and Colorado and the United States is a defendant for acts committed in New Jersey,

Colorado and Oregon.

                                             PARTIES

   5. Plaintiff Timothy Rote (Rote) is a citizen of the United States and a resident of the state

of Oregon.

   6. Defendant Committee on Judicial Conduct and Disability of the Judicial Conference of

the United States ("the Review Committee") is a standing committee established by the Judicial

Conference of the United States ("the Judicial Conference") to review orders and actions of the

Judicial Councils of the U.S. Circuit Courts of Appeal regarding complaints against judges and

judicial discipline under the Act. The Review Committee derives its authority from sections 331

and 357 of the Act, and from Rule 21 of the Rules for Judicial Conduct and Judicial-Disability

Proceedings. The Committee consistently refuses to punish members of the judiciary who

retaliate against citizens who publish complaints about the judiciary , allowing the integrity of

the litigation process to be abridged. The Committee has specifically refused to take action




PAGE 6.      COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                                Attachment 1, Page 8 of 50
        Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                                Document16
                                         51 Filed
                                             Filed08/17/22
                                                   08/09/21 Page
                                                             Page117 of 101
                                                                        48




against Kugler and Mosman who have admitted to threatening the plaintiff with incarceration

and assault if plaintiff does not cease exposing the members of the judiciary.

    7. Defendant United States Department of Justice, also known as the Justice Department, is

a federal executive department of the U.S. government, responsible for the enforcement of the

law and administration of justice in the United States. The United States Department of Justice

through Billy Williams engaged in ex-parte contact and conspired with Judge Mosman who then

remanded a Clackamas County Court case 18cv45257, dismissed defendant Walker with

prejudice in that case, retained without jurisdiction to dismiss with prejudice the remaining

defendants and ordered the destruction of the court's and Walker's trial recordings in related

federal case 3: l 5-cv-2401.

   8. Defendant Oregon Judicial Department is the judicial branch of government of the state

of Oregon in the United States. The chief executive of the branch is the Chief Justice of the

Oregon Supreme Court. The Oregon Judicial Branch has been aware of the abuses of the PLF,

payments and benefits to the judiciary and acts of retaliation by Egan and the compromise to due

process without intervening.

   9. Defendant Oregon State Bar is a government agency in the U.S. State of Oregon.

Founded in 1890 as the private Oregon Bar Association, it became a public entity in 1935 that

regulates the legal profession. The public corporation is part of the Oregon Judicial Department.

Lawyers are required to join the OSB in order to practice law in Oregon. The Oregon State Bar

Professional Liability Fund ("PLF") is organized under the Oregon State Bar, was put on notice

of the perjury, subornation of perjury and other crimes perpetrated by the PLF and chose to take

no action.




PAGE 7.      COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                                 Attachment 1, Page 9 of 50
        Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                                Document16
                                         51 Filed
                                             Filed08/17/22
                                                   08/09/21 Page
                                                             Page128 of 101
                                                                        48




    10. Defendant Oregon State Bar Professional Liability Fund, while separately run, operates

under the umbrella of the Oregon State Bar. The Oregon State Bar Board of Governors created

the Professional Liability Fund in 1977 pursuant to state statute (ORS 9.080) and with approval

of the membership. The PLF first began operation on July 1, 1978, and has been the mandatory

provider of primary malpractice coverage for Oregon lawyers since that date. The PLF is a

captive insurance agency that has no mandatory reporting requirement. The PLF was put on

notice of the perjury, subornation of perjury and other crimes perpetrated by Berncik and PLF

Vendors and chose to take no action. On information and belief, the PLF's non-immune acts

include but are not limited to aiding and abetting the judicial defendants, represented Zweizig in

exchange for a quid pro quo agreement with the judicial defendants to dismiss plaintiff

malpractice and RICO claims in Clackamas case 18cv45257, and is the RICO enterprise. The

PLF maintains offshore account in the approximate amount of $10 Million which it uses to pay

bribes to some or all of the named defendants.

    11. Defendant Colorado Judicial Department is the Judicial Branch of the State of Colorado,

is established and authorized by Article VI of the Colorado Constitution as well as the law of

Colorado. The Department was put on Notice that a Federal Judge had interfered with the

litigation before Judge Weishaupl in retaliation against plaintiff and took no action to censor

Weishaupl or protect due process. Defendant was served and has not responded in this litigation.

    12. Defendant Robert B. Kugler is a Senior United States District Judge of the United States

District Court for the District of New Jersey and is also serving as a Judge on the United States

Foreign Intelligence Surveillance Court. Kugler has engaged in numerous acts of retaliation

including but not limited to soliciting the abuse of a public office on multiple occasions,

targeting and harassing plaintiff Rote in 2006, 2010, 2014, 2018 and 2019, the details of which



PAGE 8.    COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                              Attachment 1, Page 10 of 50
        Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                                Document16
                                         51 Filed
                                             Filed08/17/22
                                                   08/09/21 Page
                                                             Page139 of 101
                                                                        48




are outlined below. The source of the angst was Rote discovering that one ofKugler's clerks met

with Sandra Ware ex-parte while Kugler had jurisdiction of a case involving Ware's boyfriend,

namely Max Zweizig. On information and belief, Ware passed onto Kugler the Jones transcript

and attempted to extort Kugler by threatening to reveal numerous private and embrassing facts

about Kugler's life, information Ware acquired in a close relationship with Kugler. Kugler

threatened Rote on the record during a contempt hearing in New Jersey on July 11, 2005. The

Kugler threats included soliciting the U.S. Attorneys office to imprison plaintiff Rote for

publishing letters to Kugler about Zweizig's porn and probable connection to the Court. Neither

the Clerk for Judge Kugler nor Ware have denied their ex parte meeting and the passing of the

Jones Transcript. Ware acquired the Jones transcript on February 2, 2004 and published the

transcript to named defendants, who in turn published the transcript to other defendants

(including the arbitrator Crow) soliciting retaliation against Rote for publishing the defendants

support of child porn and trafficking ..

    13. Defendant Michael Mosman is a United State District Court Judge of the United States

District Court for the District of Oregon, is the former Chief Judge and also served on the United

States Foreign Intelligence Surveillance Court. Judge Mosman engaged in a number of

retaliatory acts outside the protection of immunity, including but not limited to unlawfully

exercising jurisdiction over state court claims against state resident defendants and dismissed

those claims with prejudice (recently reversed by the 9th Circuit), refused to recuse himself while

conflicted on litigation involving his personal friend in Nancy Walker, failed to recuse himself

on conflicts arising from his financial relationship with the PLF ,failed and has thus far refused to

disclose benefits received from the PLF and others in quid pro quo agreements, and on

information and belief ordered a clerk to destroy the court's trial recordings in case 3: 15-cv-



PAGE 9.    COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                               Attachment 1, Page 11 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page14
                                                                10ofof101
                                                                       48




2401, solicited state judicial actors to retaliate against the plaintiff and ordered the U .S. Marshals

Service to harass and attack the Plaintiff and Plaintiffs extended family in retaliation for filing

this action against the judicial defendants.

    14. Defendant Marco Hernandez is a United States District Court Judge of the United States

District Court for the District of Oregon. In case 3:15-cv-2401 Hernandez quashed the subpoenas

for Nancy Walker's digital recordings of the trial (with no party with standing to object),,

refused to allow the jury to be interviewed on the question of impact had the jury seen the

forensic reports showing Zweizig's criminal activity (including child porn), quashed the

subpoenas of Crow's arbitration file (which likely would have evidence ofKugler's call to

Crow), denied Plaintiff discovery and the depositions of Zweizig and Ware, refused to compel

arbitration on exactly the same claims involving the same parties Zweizig brought before in

2004-2011 (where arbitration against Rote was compelled), allowed Zweizig to allege claims

already denied in prior litigation and strategically suppressed impeachment evidence of the

computer forensic reports which paved the way for Zweizig to lie about the content of the

forensic reports.

    15. Defendant Paul J. Papak is a Federal Magistrate Judge on the United States District Court

for the District of Oregon. He was first appointed to this position on September 19, 2005, and his

current term will expire on September 18, 2021 . Papak confirmed the arbitration award issued by

former Defendant and Arbitrator William Crow in 2102 with the full knowledge and body of

evidence that Crow had failed to disclose his prior partnership relationship with opposing

counsel, that Crow resigned from the engagement, re-engaged as arbitrator and in retaliation

ignored all the evidence produced by Plaintiffs company. That evidence included 1,000

documents, the testimony of eight witnesses and the testimony and reports of three computer



PAGE 10. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                                 Attachment 1, Page 12 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page15
                                                                11ofof101
                                                                       48




forensic experts. Judge Papak aided and abetted the unlawful and immoral arbitration award to

Zweizig (which included statutory damages under ORS 659A. 199, .230 and post-employment

retaliation damages under ORS 659A.030 (l)(f), at the demand of Mosman and Kugler, Judge

Papak did, however, confirm that the Zweizig contract mandate to arbitrate applied to post-

employment retaliation claims (confirming the opinion of the New Jersey State Court, which

compelled Zweizig to arbitration).

    16. Defendant Elizabeth A. Weishaupl is a district court judge in Arapahoe County for the

18th Judicial District. She has been in private practice, an Assistant Attorney General for the

State of Colorado, and an Assistant U.S. Attorney. She was appointed to the bench in 2008 and

has presided over criminal, civil, domestic, probate and juvenile matters since that time.

Weishaupl received the Jones and Kugler transcripts and in June 2014 took a call from Robert

Kugler, who solicited a trial ruling against plaintiff Rote's controlled companies on a Denver

action against Silicon Valley Bank.

    17. Defendant Robert Herndon was the Chief Judge in the Clackamas County Circuit in

Oregon. Herndon joined the Clackamas County Circuit Court in 1997, has retired from the bench

and practices law in Oregon. Herndon ignored the U.S. Marshals evidence and has confirmed he

had a quid pro quo relationship with the PLF at the time his opinion granting the anti-SLAPP for

the benefit of the PLF.

    18. Defendant James C. Egan is the Chief Judge of the Oregon Court of Appeals. The

Oregon Court of Appeals is the state intermediate appellate court in the State of Oregon. Part of

the Oregon Judicial Department, the Oregon Court of Appeals has thirteen judges and is located

in Salem, Oregon. Prior to be appointed the Oregon Judiciary, Egan practiced law in Albany

Oregon specializing in employment law. Egan, who previously represented Zweizig, conspired



PAGE 11. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                              Attachment 1, Page 13 of 50
         Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                               Document16
                                        51 Filed
                                            Filed08/17/22
                                                  08/09/21 Page
                                                            Page16
                                                                 12ofof101
                                                                        48




with the other defendants named in this case and solicited the Oregon Court of Appeals justices

to A WOP the anti-SLAPP against plaintiff and in favor of the PLF, ignoring subpoena evidence

from the U.S. Marshals Service indicting the PLF actors with perjury and false swearing.

    19. Defendant Billy J. Williams is United States Attorney for the District of Oregon,

effective on December 12, 2015. Billy Williams has served as the Acting United States Attorney,

for the District of Oregon since May of 2015. He has been with the U.S. Attorney's Office since

October of 2000. Prior to his role as Acting United States Attorney, he served as the First

Assistant, Chief of the Criminal Division and Chief of the Violent Crimes Unit. Williams

contacted Mosman ex-parte when representing the United States in Federal case 3:19-CV-00082

and had aided in the cover up of a back dated order to dismiss Walker with prejudice.

    20. Defenclafl:t Kathie Steele is the ChiefJl¼age of the Clackamas Col¼flty Court, assl:HBing

that role after Robert Hemeon reti-recl. Steele inteF¥enecl for the benefit of Max Zwei:zig in

Clackamas eases 19ov14552, 190¥01547 afl:a 180¥45257. Jl¼clge Steele instraotecl Jl¼clge Lininger

to grant afl:ti SLA.PP Motions af.1:0 0:\v:arcl legal fees Sl:lf)portecl only by fral¼cll¼lent fee petitions for

the sole pl¼Fpose of attacking Plaintiff.

    21. Defendant Nancy Walker is a court reporter for the U.S. District Court of Oregon and as

an independent contractor produces trial transcripts for a fee. Walker published knowing false

draft and final trial transcripts in 2018 and destroyed her digital recordings at the request of

Mosman and perhaps other judicial actors while under subpoena and litigation hold notice.

    22. Defendant Carol Bernick is the Chief Executive Officer of the Oregon State Bar

Professional Liability Fund ("PLF"). She is the recipient of the Peter Perlman Service Award

from the Litigation Counsel of America and a Fellow in the College of Labor & Employment

Lawyers. She previously was a member of the board of the Multnomah Bar Association, where



PAGE 12. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                                        Attachment 1, Page 14 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page17
                                                                13ofof101
                                                                       48




she chaired the Judicial Selection Committee and to this day exercises power and influence over

judicial appointments and due process. Bernick has solicited and endorsed most of the ten acts of

perjury and subornation of perjury and engineered the assignment of pro tern Judges friendly to

the PLF. Bernick also authorized the gratis representation of Zweizig (in multiple state cases)

without mandate and requirement, in fact in violation of the PLF charter, at the request of

Mosman and Kugler. Zweizig confirmed his free representation by the PLF, and that he did not

solicit that representation, in his deposition on December 21, 2020.

   23. Defendant Kathie Steele is the Chief Judge for in the Clackamas County Circuit in

Oregon. Judge Steele's staff refused to allow plaintiff Rote to file documents into several cases

in a series of reverse discrimination, effectively denying plaintiff access to litigation as a right of

due process. On information and belief, Kathie Steele knew of these acts, endorsed them, also

solicited the PLF to represent Zweizig and strategized with Michael Mosman on how best to

retaliate against plaintiff. The non-judicial acts of Judge Steele include but are not limited to

soliciting Judge Ann Lininger of the Clackamas County Court to award excessive and unlawful

legal fees to Zweizig in an anti-SLAPP Motion striking plaintiffs and plaintiffs wife

counterclaims for interference with contract and slander of title.

   24. Defendant Nena Cook became the Chief Executive Officer of the PLF effective January

1, 2020. Cook has been a civil litigator in Oregon for more than 25 years. Most of her legal

career has been spent with two mid-sized Portland law firms, Ater Wynne LLP and Sussman

Shank LLP. Until recently Cook was hired by the PLF to provide free legal services to Max

Zweizig, a non-attorney, in Clackamas County Case 3:19-cv-14552. On information and belief

the representation was based on a request by Mosman and other defendants targeting plaintiff




PAGE 13. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                                 Attachment 1, Page 15 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page18
                                                                14ofof101
                                                                       48




Rote for naming Walker as a defendant in Clackamas case 18cv45257 and for opposing the

decriminalization of pedophilia.

                                    STATEMENT OF FACTS

    25. In 2001 The Hon. Robert E. Jones presided over a case in which plaintiff Sean Jones

brought an action for breach of contract and FCRA violations against a company owned by Rote.

Sean Jones was terminated for intercepting, opening and responding to Rote's personal mail, a

federal crime. Jones did not refute the criminal conduct.

    26. Upon the defense resting, the court instructed the jury and in a last minute change to the

jury instructions the court effectively vitiated the defendant's affirmative defenses and

counterclaims.

    27. The jury returned with a small verdict in favor the plaintiff.

    28. Shortly thereafter plaintiff Sean Jones alleged the Hon. Robert E. Jones was a family

member.

    29. Rote responded by asking the Judge via letter to recuse himself from post-verdict

jurisdiction and Judge Jones did so with fanfare. The hearing on recusal will be referred to

hereafter as the "Jones Transcript." There is little information supporting a conclusion that the

subsequent chain of civil rights violations were designed and executed by Judge Jones, but it is

abundantly clear that the defendants consider the publishing of the Jones family relationship

worthy of punishment. (The First Act). Plaintiff does not believe Judge Jones was involved with

these civil right violations, but it is also abundantly clear that Judge Jones had knowledge of the

transcripts being filed, knew they were being used to abridge due process and did nothing to stop

the abuse.




PAGE 14. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                              Attachment 1, Page 16 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page19
                                                                15ofof101
                                                                       48




    30. Post judgment jurisdiction was transferred to Multnomah County Oregon and Rote had

his company pay the judgment soon thereafter. Opposing counsel was suspended from the

practice of law shortly thereafter for abuse of process, which Rote's company encountered in a

fraudulent garnishment.

    31. In 2003, Max Zweizig, an employee of a different company (owned by Rote) conspired

with his girlfriend Sandra Ware (Rutgers Law School graduate) to perpetrate a fraudulent

employment claim against Rote and the employer Northwest Direct ("NDT").

    32. As part of that scheme, Zweizig destroyed and removed programming code critical to his

employer over a six month period of time. When the time was ripe and the programming was

erased, hard drives overwritten, etc., processed data and reports withheld from clients, Zweizig

and Ware attempted to extort a substantial raise from Rote.

    33. Rote rejected the extortion attempt and upon Zweizig filing data due clients, Zweizig was

given notice. It appeared at that point that Zweizig had been under some pressure and Rote

sought to get Zweizig into counseling and to retrieve from him the critical programming code

that Zweizig withheld.

    34. Initially Zweizig responded well, but then refused to turn over the programming, instead

choosing to file a complaint (three weeks after being given notice by Rote) with the Oregon

Department of Justice (ODJ) and Lane County District Attorney claiming his employer was

over-billing clients.

    35. Defendant and then attorney James Egan filed that complaint on behalf of Zweizig,

without a scintilla of evidence, after talking to Zweizig's NJ attorney. Later Egan would testify

during the 2010 arbitration that he did not know Sandra Ware was Zweizig's girlfriend.




PAGE 15. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                             Attachment 1, Page 17 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page20
                                                                16ofof101
                                                                       48




    36. The ODJ opened an investigation. Evidence was requested. No evidence was provided by

Zweizig or Egan and the investigation was closed down.

    37. Zweizig also filed with Rote a spreadsheet as the sole piece of evidence. Zweizig claimed

to have received the spreadsheet via email, but no such email has ever been provided by

ZweizigThat spreadsheet remains uncorroborated.

    38. Rote investigated, found the spreadsheet to be a fabrication by Zweizig, no clients were

identified, there were hourly adjustments but Rote's company rarely billed by the hour, no one

corroborated the spreadsheet, and the amount in question was nominal $400 (in a month in which

the employer billed $400,000).

    39. Zweizig refused to provide copies of employer owned software programming before or

after his last day of employment which ended on November 14, 2003.

   40. After Zweizig's last day, Rote's company shut down for 10 days as the programming was

recreated, the shutdown displacing more than 150 employees.

   41. In 2004 Zweizig filed a complaint in New Jersey state court for retaliation against former

employer Northwest Direct ("NDT") and Rote alleging retaliation claims. NDT and Rote ordered

counsel to transfer the case to Federal Court based on diversity.

   42. The case was assigned to Judge Robert Kugler. A Motion to Compel arbitration was filed

by Rote and NDT. While under consideration, Sandra Ware met with a Kugler law clerk, a

classmate of Ware's, passing to him in person the Jones Transcript.

   43. In response, Kugler dismissed defendant's access to federal court with prejudice sending

the case back to New Jersey State Court, denying NDT and Rote their procedural right to access

federal court.




PAGE 16. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                             Attachment 1, Page 18 of 50
          Case
          Case3:22-cv-00985-SI
               3:19-cv-01988-SI Document
                                Document16
                                         51 Filed
                                             Filed08/17/22
                                                   08/09/21 Page
                                                             Page21
                                                                  17ofof101
                                                                         48




   44. Plaintiff asserts that Kugler's decision to not put Rote's counsel on notice to cure any

defect in the transfer of the case to Federal Court as being a highly unusual act and self-evident

as to prejudice and intent to deny Rote and NDT due process. (The Second Act).

   45. Rote responded by sending a letter to Kugler notifying him of the ex-parte contact by

Ware and Zweizig, publishing to Kugler the forensic results of a hard drive Zweizig returned on

his last showing showing the existence of programming Zweizig denied having and a litany of

child incest porn downloaded by Zweizig using a peer to peer program registered in his name.

The computer forensic report issued by police officer Steve Williams was filed with Judge

Kugler.

   46. In response, Kugler issued an order to show cause (Kugler Show Cause) as to why Rote

should not be held in contempt for Rote exercising his right of free speech to a judge who had

divested the court of jurisdiction.

   4 7. Rote filed a complaint with the Second Circuit.

   48. A hearing on the show cause order was heard in Camden Federal Court at great cost to

Rote and Kugler attempted to convince the U.S. Attorney's Office to pursue criminal contempt

for Rote sending the letter. (The Third Act).The United States refused to do so and the hearing

was concluded with a finding that Rote did not engage in criminal contempt. Ware and the clerk

have never denied the ex-parte handing off of the Jones Transcript.

   49. Kugler abused his office and after the hearing requested Rote's counsel join Kugler in

chambers where he asked Rote to withdraw his complaint. Rote conveyed to counsel that he

refused to do so and counsel advised Rote to leave the state while he still could. On information

and belief the Judicial Committee endorsed this retaliatory behavior by Federal Judges against a

party who has filed a complaint against a Judge.



PAGE 17. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                              Attachment 1, Page 19 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page22
                                                                18ofof101
                                                                       48




   50. The case proceeded to state court. Zweizig was a subject to a contract that mandated

arbitration. The contract was evaluated for conscionability and upheld. Zweizig was compelled

to arbitration in Portland Oregon. Zweizig filed the Jones and Kugler transcripts with New Jersey

State Court. However, in this case the State Court was not amused.

   51. In 2006 arbitration was commenced with Rote and his company as Claimant and Zweizig

as Respondent. The arbitration was delayed substantially as Zweizig lost counsel on four

separate occasions.

   52. In 2009 opposing counsel Linda Marshall appeared on behalf of Zweizig. Marshall

submitted to arbitrator William Crow both the Jones and Kugler transcripts asking the arbitrator

to deny Rote and NOT their constitutional right of due process. The 2010 trial transcript in fact

documents a cross examination of plaintiffs attorney on the Jones hearing in 2001, but even at

that time did not disclose that Crow and opposing counsel Marshall had been partners for 14

years at Miller Nash.

   53. Crow cited both the Jones and Kugler transcripts on the record during the arbitration and

at one point made snide comments to Rote about his communications. On the record on May 26,

2010, Crow made it clear that publishing to Kugler that Sandra Ware had met ex-parte with

Kugler's clerk, had influenced him. Crow seemed to miss the point that the plaintiff and

employer were victims of the ex-parte contact between Ware and the law clerk, a meeting which

Ware and the clerk have never denied. The transcript of the arbitration on that day intimates a

conversation between Kugler and Crow, a conversation which was subsequently confirmed in

August 2018. Crow actually demanded an explanation even after Kugler had five years earlier

initiated a show cause hearing for contempt, asked the U.S. Attorney's office to prosecute Rote

for the notice to Kugler, which the U.S. Attorney's refused to do and ultimately dismissed the



PAGE 18. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                             Attachment 1, Page 20 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page23
                                                                19ofof101
                                                                       48




contempt hearing with no finding of contempt. The Opinion and award by Crow specifically

refused to award damages on the publishing of a letter to Kugler but Crow's animus and bias is

reflected in the order.

    54. In May 2010 the first often (10) arbitration hearings began. Approximately halfway

through those hearing Rote became aware that Crow and Marshall had been partners at the law

firm of Miller Nash at the same time and for some 14 years. Neither Crow nor Marshall

disclosed their prior partner relationship.

    55. Upon raising the failure to disclose the prior partnership relationship, arbitrator Crow

immediately resigned. Marshall told him that the providence of Crow's independence rested

solely with the Arbitration Service of Portland (ASP) and Crow re-engaged.

    56. The ASP determined that Zweizig would be prejudiced if Crow resigned.

    57. Upon rejoining, arbitrator Crow summarily ignored the evidence put on by employer

NDT and found in favor of Zweizig, awarding him $67,500 in back pay, $5,000 on an alleged

post-employment letter (a letter not in evidence) to a third party and $1 ,000 for a post-

employment unemployment compensation challenge by NDT. On information and belief this act

was solicited by Robert Kugler and Michael Mosman (The Fourth Act).

    58. The evidence ignored by Crow included a hard copy and digital copy of an email

terminating Zweizig three weeks before his complaint to the ODJ, the testimony of three

witnesses placing the date of notice of termination to three weeks before the complaint to the

ODJ by Zweizig alleging overbilling of clients(and alleged retaliation for doing so), the

testimony and reports by three forensic experts (including one of Zweizig's experts) opining that

the digital email terminating Zweizig was evaluated and confirmed as having been sent three

weeks before Zweizig's complaint.



PAGE 19. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                               Attachment 1, Page 21 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page24
                                                                20ofof101
                                                                       48




   59. Crow also ignored all evidence of damage caused by Zweizig including emails from

Zweizig claiming that there was no program code to process and report on 100,000 bits of data

daily, the testimony of the expert hired to search and then recreate the programs, the testimony of

three witnesses that knew the programming existed and was withheld by Zweizig and the

testimony of three computer forensic experts (one of them Zweizig's) who opined that the

programming was in fact found on a hard drive reformatted by Zweizig on his last day. Those

forensic reports and the testimony of the experts was placed in the record in each of the cases

referenced in this complaint.

   60. Crow ignored more than 1,000 documents and the testimony often witnesses. Ethics

complaints were filed with the Oregon State Bar for Marshall and subsequent attorneys

instructing Zweizig to destroy evidence, for aiding and abetting in his perjury, for lying to Crow

and also as to Crow for violating a multitude of ethical mandates.

   61. The complaints went to Crow who was then the Chair of the Disciplinary Board for the

Oregon State Bar and they went no further. (The Fifth Act).

   62. NDT filed a Motion to Vacate the arbitration award citing Crow's failure to disclose, his

recusal, his re-engagement, his incapacity and complete refusal to consider the evidence ofNDT

as well as Zweizig's own evidence refuting Crow's narrative.

   63. In 2012, Magistrate Paul Papak considered the arguments and while acknowledging

Crow's failure to disclose his conflict, lack of independence, apparent lack of capacity and

intentional disregard of evidence nonetheless refused to vacate the award. In spite of refusing to

consider the merits of the arbitration, Papak did insert knowingly false facts, most prominent of

which was a statement that only a hard copy of the email terminating Zweizig was in evidence

before Crow, when in fact that was not true. A digital copy of the email terminating Zweizig



PAGE 20. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                              Attachment 1, Page 22 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page25
                                                                21ofof101
                                                                       48




before his complaint to the ODJ had been maintained and evaluated by three forensic experts.

The forensic reports evaluating the digital email, confirming the email was sent to Zweizig

terminating him before Zweizig's complaint to the ODJ, was also in evidence with the Motion to

Vacate. Papak ignored that evidence. (The Sixth Act).

   64. Magistrate Papak's refusal to vacate the arbitration, given the evidence, is self-evident as

to prejudice and Papak's intent to deny Rote and NDT due process.

   65. Papak was influenced by the Jones and Kugler transcripts as well a complaint filed

against Crow (which Marshall noted in her declaration in support of confirming the award) and

consciously decided to deny Rote due process.

   66. In February 2017, Rote met with Crow and Crow admitted that he did not have the

stamina to look at the evidence, had referred Marshall to Zweizig and had used a draft opinion

written for him by Marshall. Crow's admission to his inability to exercise the responsibilities of

his contract are consistent with the acts solicited by Kugler (The Seventh Act). Plaintiff refuses

to name Crow as a defendant out of sincere belief that the parties that manipulated Crow should

be held accountable.

   67. Immediately thereafter Rote filed a Motion to Set Aside the Judgment and Papak refused

to consider the evidence. (The Eighth Act).Rote filed a complaint against Papak thereafter.

   68. From 2009 through June 2014, NDT and Rote litigated against Silicon Valley Bank

("SVB") in Arapahoe County Colorado, after SVB had instructed executives of a software

company owned by SVB to break into NDT's servers and destroy software. SVB's intent was to

use the shutdown it caused to extort a settlement in lawsuit filed by NDT for breach of contract

and fraud.




PAGE 21. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                              Attachment 1, Page 23 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page26
                                                                22ofof101
                                                                       48




   69. The dispute was over some $50,000 due Touchstar Software Company on a $250,000

contract, SVB wanting to keep the $200,000 received and take back the software in its entirety.

Rote refused to capitulate to the extortion and successfully adjudicated an Emergency Motion to

enjoin SVB (and Touchstar) from further destruction and to reinstall the software. NDT

prevailed in Denver Federal Court and SVB refused to comply.

   70. CEO Rote and former CEO of Touchstar both testified at trial that Touchstar had

fraudulently provisioned the hardware and software rendering close to half the software licenses

unusable and effectively engaging in a fraudulent bait and switch tactic. NDT sought more than

$1.6 Million in damages.

   71. On Information and belief, Weishaupl received a copy of the Jones and Kugler transcript

and a call from Kugler asking Weishaupl to find against Rote. Although Weishaupl had found in

favor ofNDT during Summary Judgment, the court found that the product delivered by

Touchstar and SVB that rendered half the licenses unusable was not a material breach of the

contract. (The Ninth Act). Weishaupl published her opinion on July 31, 2014. Kugler was

identified by Crow as the judicial actor who solicited Wweishaupl.

   72. In 2015, plaintiff Rote began writing articles and posts about the arbitration and litigation

with SVB. The evidence from the arbitration represented a bulk of the source material. Rote

specifically addressed the evidence the arbitrator ignored. Plaintiff also wrote similar articles

about the SVB litigation.

   73. Zweizig found the articles and blog posts about the arbitration defamatory and demanded

the blog (which contained much more than the Zweizig posts) be taken down. Rote refused to do

so, but offered Zweizig anonymity and redaction.




PAGE 22. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                               Attachment 1, Page 24 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page27
                                                                23ofof101
                                                                       48




    74. In Retaliation, opposing counsel Joel Christiansen and Linda Marshall spun a blog post

written by Rote ( on whether arbitrators are above the law), reached out to deputy clerk of The

Hon. Robert E. Jones on November 12, 2015 and conveyed that Rote was going to attend a

dinner in the Judges honor and assault, if not assassinate, Judge Jones. Christiansen filed a false

declaration misrepresenting the content of his commentary to the deputy clerk, the content of

which was eventually acquired from the U.S. Marshals Service.

    75. On Christmas Eve Zweizig filed a lawsuit against Rote and former employer NDT in the

U.S. District Court of Oregon. Almost immediately opposing counsel filed the Jones and Kugler

transcripts asking the court for bias and to deny Rote his rights of free speech and due process.

(The Tenth Act).Counsel would file the Jones and Kugler transcripts two more times in the

3: 15-CV-2401 lawsuit, each time asking the court for bias, to punish Rote for his free speech and

to deny Rote his due process.

    76. The Hon. Marco Hernandez did deny Rote due process. Zweizig's claims in the 3:15

lawsuit were asserted as employment claims for retaliation, not for defamation, for publishing

the details of the arbitration. As such the employment claims are subject to Zweizig's contract

dispute resolution clause requiring notice, mediation and arbitration. Zweizig failed to comply

with the contract.

    77. Under Oregon law the court has the limited jurisdiction to decide (1) if there is a contract

requiring arbitration and (2) if the claims are the type of claims subject to arbitration, such as

employment claims. Zweizig sought damages under post-employment retaliation claims citing

the contract, the very type of claim he was awarded damages in during the arbitration. The

Federal Arbitration Act also limits the review by the court and demands the court compel

arbitration as the implicated contract requires.



PAGE 23. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                                Attachment 1, Page 25 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page28
                                                                24ofof101
                                                                       48




   78. And yet the court decided to deny Rote's Motion to Compel, using waiver and non-

signatory theories, arguments well beyond the threshold questions before the court under Oregon

law. (The Eleventh Act).The court also denied Rote's counterclaim for defamation even though

Rote had raised factual defenses to the anti-SLAPP filed by Christiansen on behalf of Zweizig.

The court refused to allow plaintiff Rote discovery or to depose Zweizig and Ware. Under the 9th

Circuit Courts guidance, anti-SLAPP Motions are to be treated as Motions for Summary

Judgment and discovery afforded when there are factual defenses, as in the case where the

content of Christiansen's statements to the deputy clerk are challenged and refuted by other

evidence. (The Twelfth Act).

   79. In 2016 Rote filed a defamation lawsuit against Christiansen and Marshall in Clackamas

County Court for statements made alleging Rote intended to attack Judge Jones. Rote became

aware of the nefarious contact (but not content) with the deputy clerk since the U.S. Marshals

Service got involved and interviewed Rote and Rote's attorney.

   80. Judge Robert Herndon presided over the short duration of the case.

   81. The Oregon State Bar Professional Liability Fund hired counsel to represent Marshall and

Christiansen and counsel filed an anti-SLAPP Motion to Strike Rote's claims arguing the articles

and posts were publications on a topic of public interest and in a public forum, also concealing

the content of the statements made to Judge Jones deputy clerk. (The Thirteenth Act).

   82. During the course of the anti-SLAPP Rote argued that the claims made by opposing

counsel had to be dangerous enough for the U.S. Marshals Service to investigate and for the

Marshals to place Rote on the watch list at the U.S. District Court of Oregon. Rote offered

further evidence that plaintiff has refused to reveal the content of the statements, but had done so




PAGE 24. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                              Attachment 1, Page 26 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page29
                                                                25ofof101
                                                                       48




in the 3:15CV2401 lawsuit, opposing counsel Christiansen now having admitted that he and

Marshall contacted the deputy clerk.

   83. Rote asked the Herndon court to accept as evidence that the statements while still

concealed must have been material enough for the U.S. Marshals to take action. Opposing

counsel hired by the PLF also knowing concealed the content of the statements made by

Marshall and Christiansen and misrepresented the content to the court.

   84. Opposing counsel hired by the PLF, with full knowledge of Carol Bernick, filed the Jones

and Kugler transcripts, asked for and received prejudicial favor denying Rote his constitutionally

right of due process. The Herndon court granted the anti-SLAPP. (The Fourteenth Act). Rote

appealed.

   85. On appeal, Rote argued the clear weight of inference given the fraudulent concealment of

the statements published to the deputy clerk. Herndon acknowledged that he was influenced by

the Jones and Kugler transcripts and that was asserted in the appeal.

   86. After the Clackamas County anti-SLAPP was granted and before the appeal, Rote

acquired further evidence from the U.S. Marshals Service via subpoena and FOIA request. The

content of the statements made to the deputy clerk, recorded by the deputy clerk and provided to

the U.S. Marshals Service, showed that Christiansen had engaged in perjury in his federal

declaration in support of the anti-SLAPP Motion and that counsel in the Clackamas County case

had also engaged in perjury.

   87. An Ethics complaint was filed against Christiansen and Marshall with evidence of his

perjury in his declaration and as compared to the U.S. Marshals evidence showing highly

defamatory statements made about Rote, statements concealed by Christiansen. The Oregon

State Bar took no action for violation of Oregon Rules of Professional Conduct sections 3.3 to




PAGE 25. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                             Attachment 1, Page 27 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page30
                                                                26ofof101
                                                                       48




3.5. The Oregon State Bar aided and abetted Christiansen and Marshall in their efforts to deny

Rote his right of due process. (The Fifteenth Act).

   88. The Herndon court refused to consider the U.S. Marshals Evidence while the anti-SLAPP

was under appeal. The court further refused to consider the new evidence after appeal, ignoring

Oregon law allowing a Motion to Set Aside the Judgment for fraud upon the court and

threatening Rote with enhanced legal fees. Herndon denied Rote due process. On information

and belief, Paul Papak contacted Herndon requesting that Herndon deny Rote his right of due

process. (The Sixteenth Act).

   89. By the time Rote filed his appeal with the Oregon Court of Appeals on the Clackamas

Court granting the anti-SLAPP, James Egan, former counsel for Zweizig, was on the Oregon

Court of Appeals. Rote filed an affidavit on Egan and further sent an email requesting Egan not

get involved with the appeal. That request was ignored.

   90. On information and belief, James Egan engaged other members of the Oregon Court of

Appeals to Affirm without Opinion (A WOP) the Clackamas County Courts decision and to deny

Rote his right of due process. (The Seventeenth Act). Egan is now Chief Justice of the Oregon

Court of Appeals and is seeking appointment as a Federal Magistrate.

   91. The Hernandez court (3:15-CV-2401) further decided just before trial to deny Rote's

source material supporting his blog posts, the most important of which was the forensic reports.

Plaintiff counsel Christiansen filed a Motion in Limine specifically identifying exhibits Rote

sought to present to the jury and which Christiansen described, authenticated and argued

supported Rote's posts describing Zweizig's cybercrime, copyright violations, destruction of

programming and the downloading and disseminating of child porn using a peer to peer program

registered to Zweizig. Until that Motion in Limine was granted, Zweizig had only argued the



PAGE 26. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                             Attachment 1, Page 28 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page31
                                                                27ofof101
                                                                       48




publishing of the forensic reports was a violation of a protective order. After the Motion in

Limine was granted, Zweizig took a position the blog posts were untruthful and did not raise the

protective order issue during trial. (The Eighteenth Act).

   92. Judge Marco Hernandez intentionally made objectively unreasonable ruling to punish

Rote for his free speech and to deny his right of due process. Out of the more than 60 exhibits

Rote sought to introduce at trial, the court permitted only five (5), and did not permit the forensic

reports even for impeachment of Zweizig's testimony. Judge Hernandez would have seen that

the forensic reports were referenced as source material in Chapters 4 and 7 of the blog and that

the issues raised on child porn, cybercrime , copyright, identity theft and destruction of evidence

had not been addressed by Crow in the arbitration. Moreover this evidence specifically rebutted

Zweizig's testimony and because it was referenced in the Motion in Limine by Christiansen, did

not need to be corroborated further. .. Zweizig's legal team having done that.

   93. In 2018 Rote filed a new lawsuit in Clackamas County seeking again damages for

Defamation and IIED for the false and defamatory statements published to Judge Jones deputy

clerk, against former PLF counsel for fraudulent concealment of the true statements made to the

deputy clerk, for malpractice against Rote counsel for failing to file a Motion to Compel

arbitration before answering and against the PLF for refusing to cover the malpractice. The

PLF's refusal to cover was based on retaliatory animus for publishing a series of articles critical

of the PLF endorsement of perjury and for covering attorneys engaged in retaliatory acts outside

the scope of coverage. (The Nineteenth Act).

   94. Rote also penned a number of articles questioning the propriety of the PLF enjoying tax

free status while failing to act in the public's interest as originally conceived, for growing to a

financial powerhouse that pays out less in claims as a % of premiums than independent carries,



PAGE 27. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                                 Attachment 1, Page 29 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page32
                                                                28ofof101
                                                                       48




for being a captive insurance company and not qualifying for tax exempt status and for

concealing what appears to be $2 Million a year in undisclosed payments to outside parties.

   95. Rote also renewed his Motion to Set Aside the Judgment for legal fees in the Clackamas

anti-SLAPP Motion. Judge Susie Norby was assigned to the case. Rote submitted the U.S.

Marshals evidence showing clearly that Christiansen's representation of the statements made to

the clerk were tantamount to perjury, that the anti-SLAPP decision should be void as a matter of

law and the opportunity for legal fees therefore foreclosed. Norby ignored the evidence and

A WOPed the earlier decision. On information and belief, Susie Norby is actively seeking an

appointment to Court of Appeals, met with James Egan to gamer his support for that position

and denied Rote's Motion as an act of solidarity and as requested by Egan. (The Twentieth

Act).

   96. Also, during this time Rote filed a Motion to Correct the record in the 3:15-CV-2401 case

now under appeal. The court transcript was missing two statements made by opposing counsel

Christiansen at closing, the most important of which was a false claim that Rote was making $4

Million a year and the jury should award Zweizig's damages accordingly. While that statement

was one of 17 prejudicial statements, for which the court did not intervene (The Twenty First

Act), Rote asked the court reporter Nancy Walker to check and make sure she did not make an

error. Walker maintained she did not make an error.

   97. Plaintiff Rote immediately issued litigation hold emails to Walker and the court clerk and

offered to pay Walker for copies of the recordings. Walker refused.

   98. Rote added Nancy Walker as a defendant in the 2018 Clackamas lawsuit claiming intent

to defraud and to create a knowingly false document. Rote subpoenaed the recordings. Walker

refused to respond or object to the subpoena.



PAGE 28. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                            Attachment 1, Page 30 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page33
                                                                29ofof101
                                                                       48




   99. The United States intervened by an untimely removal of the Clackamas County action to

the U.S. District Court of Oregon. The United States argues that the action against Walker was

an action against the United States, even though Walker claims personal property ownership of

the tapes. Rote objected to the removal and Judge Michael Mosman decided that the court would

retain jurisdiction. (The Twenty Second Act).

    100.       Rote again issues subpoenas to Walker and the Clerk of the Court. The United

States responded by arguing the subpoenas should be quashed, the proper process requiring the

court to examine exclusively the recordings to determine if the court record needed to be

corrected. Judge Hernandez did quash the subpoenas. (The Twenty Third Act).The Motion to

Correct the record was denied.

    101 .      After the subpoenas were quashed Rote went to the Court Clerk and filed a form

requesting copies of the trial recordings from the court's digital recording system. The clerk

could not find any record of the recordings and called Jennifer Padget, deputy clerk for Judge

Hernandez. Although plaintiff subpoenaed and put a litigation hold on the recordings, said

recordings were destroyed. (The Twenty Fourth Act).Who ordered the recordings destroyed is

not known and Padgett will not confirm who ordered her to destroy the recordings, but there is a

trail. Plaintiffs position is that Judge Hernandez is the only one who could have ordered deputy

clerk Paget to destroy the tapes. As previously noted, the United States was aware the tapes of

the trial were being destroyed.

    102.       On information and belief, court reporter Nancy Walker's trial recordings were

also destroyed. The United States has not denied that Walker destroyed her digital recordings.

(The Twenty Fifth Act).




PAGE 29. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                             Attachment 1, Page 31 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page34
                                                                30ofof101
                                                                       48




    103.       Defendants Christiansen & Marshall (Defamation and IIED), Brandsness

(malpractice and breach of contract), The United States, Kalmanson and PLF (and related

parties) all filed Motions to Dismiss in 3:19-CV-00082-MO. The court granted all Motions.

Brandsness and the PLF were dismissed on malpractice, the court having found that there was no

written contract. The written contract was provided as Doc #18-1. Judge Michael Mosman

ignored that evidence in the record and further back dated an opinion and order to dismiss

Walker with prejudice (The Twenty Sixth Act). On information and belief Judge Kugler

solicited this punishment directly with Judge Mosman, both being FISA Court Judges. The 9th

Circuit reversed Judge Mosman's dismissal of the state court claims on grounds that Judge

Mosman lacked jurisdiction to keep and then dismiss the state court claims.

   104. The Intentional Tort and Related Claims against the United States as Nancy Walker were

dismissed with prejudice, even after the court knew that Walker had destroyed her digital

recordings. Plaintiff position is that tampering with a trial record is common place in the Portland

division. (The Twenty Seventh Act).

   105. There are other cases that could be incorporated in this complaint. For example, Zweizig

filed a fraudulent transfer case against Rote personally on the NDT judgment. NDT had been

destroyed by the very cybercrime that he and SVB engaged in. Without a scintilla of evidence

that case went on for four years, Rote's Summary Judgment having been denied three times.

Marshall admitted during the trial the case was used to try to extort payment by Rote. Judge

Hernandez found in favor of Rote, the claims not only being time-barred but also that there was

no evidence to support the claims. Still Rote was subjected to the high cost oflitigation for four

years. (The Twenty Eighth Act).




PAGE 30. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                              Attachment 1, Page 32 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page35
                                                                31ofof101
                                                                       48




   106. Rote pursued a malicious use of a civil proceeding claim in Clackamas County, case

3:19-cv-14552, against Zweizig and his legal team which includes Sandra Ware, Joel

Christiansen and Linda Marshall. The Oregon State Bar PLF provided representation to

Christiansen and Marshall immediately. In 2019, plaintiff discovered the PLF has also provided

free legal services to Zweizig and Ware. Zweizig also confirmed this representation in his

December 21, 2020 deposition and that he had not solicited the representation.

   107. In the interim Judge Kathie Steele refused to process plaintiffs Motion for default

Judgement against Zweizig and Ware more than four times from June through September 2019.

Law clerks working for Judge Steele acknowledged that they were motivated to stop the default

out of support for Zweizig,. On information and belief, Mosman solicited this violation of due

process directly from Kathie Steele. (The Twenty Ninth Act).

   108. Once email service to Zweizig and Ware had been approved and with the Fifth Motion

for Default pending, the Oregon State Bar PLF, with the approval of Carol Bernick, hired Nena

Cook to represent non-attorneys Zweizig and Ware. The only plausible support for firing to

repair malpractice is a letter the Marshall inadvertently issued to plaintiff Rote outlining

Zweizig's and Ware's intent to use the baseless 3:14-cv-406 litigation to extort a settlement and

defame plaintiff Rote. Ultimately the client attorney privilege letter was sealed under a protective

order, but the publishing of that letter to secure PLF representation would remove privilege.

   109. Kathie Steele refused to allow Plaintiff Rote to even file a Motion in Clackamas to

reopen the protective order under seal. The Clerk was repeatedly told not to process the Motion,

forcing Rote to file the Motion to Supplement evidence without seal.

   110. Plaintiff suspected the PLF had decided to represent Zweizig out of a retaliatory act given

that plaintiff had sued the PLF and Bernick for Oregon RICO citing more than ten counts of



PAGE 31. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                               Attachment 1, Page 33 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page36
                                                                32ofof101
                                                                       48




perjury, subornation of perjury, fraud, conspiracy and aiding and abetting child porn. (The

Thirtieth Act).

   111 . Plaintiff requested confirmation by the PLF on October 1, 2019. Nena Cook did not

confirm that she was hired by the PLF until November 14, 2019 and after she filed a false

pleading to dismiss Ware from 19CV14552, failing therein to disclose to the court that the letter

causing her appointment also vitiates the argument against Ware's argument of lack of

jurisdiction. (The Thirty First Act).

   112. Plaintiff has been unable to confirm if Cook was hired out of retaliation for the OR RICO

lawsuit, now with the 9th Circuit, Mosman having dismissed all claims in retaliation for plaintiff

whistleblowing on the Nancy Walker and court's transcript tampering out of the Portland

Division. Again, plaintiff requested Mosman disqualify himself on any matter involving the PLF.

(The Thirty Second Act).

    113.       The PLF has a $100 Million war chest,generates $25 Million year in premium

revenue, paying only $2.5 million in claims. The PLF refuses to disclose annually the direct and

indirect payments to the judiciary even under an FOIA request. The PLF is considered a quasi-

government agency organized under Oregon's Judicial Branch. As of this time, the PLF has

refused to respond to a subpoena for documents on coverage of the defendants in Clackamas

case 18cv45257 and the coverage of Zweizig and Ware. The PLF's collusion with Judge

Mosman and Kugler to dismiss the malpractice claim against Brandsness and the PLF in the

amount of no less than $500,000 is one of the many predicate acts to Oregon and Federal RICO,

is a violation of the Hobbs Act, 18 U.S.C. § 1951 and may well represent an act of extortion by

the PLF. (The Thirty Third Act).




PAGE 32. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                             Attachment 1, Page 34 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page37
                                                                33ofof101
                                                                       48




   114. During the Motion to Dismiss the malpractice claim in Federal Court (3:19-cv-00082)

before Judge Mosman, counsel for Brandsness hired by the PLF alleged falsely that there was no

written contract for professional services between Brandsness and Rote. Judge Mosman used that

false allegation to dismiss the malpractice claim with prejudice. The PLF and Mosman knew that

was a false representation of facts, constitutes and act of perjury by the PLF and prima facie

evidence of a quid pro quo agreement for profit between Mosman and the PLF, represents

violations of the Hobbs Act and predicate acts under Federal and Oregon RICO. (The Thirty

Fourth and Thirty Fifth Acts).

   115. Post Judgment, Zweizig filed another fraudulent transfer action against Rote and Tanya

Rote, plaintiffs wife. After two years of discovery, the Rote's prevailed on their Motion for

Summary Judgment, Zweizig providing no evidence to support his claims. In the interim

however the Rote's have again been severely damaged. The Rote's sought counterclaims for

slander of title and interference with the contract, Zweizig having filed his action in Clackamas

case 19cv01547 in January 2019 just before the closing of a sale of property owned by nondebtor

Tanya Rote. Judge Lininger of the Clackamas County Court granted Zweizig's anti-SLAPP

Motion as to those counterclaims and awarded $20,970 in attorney fees to Zweizig in July 2020.

The fee petition by Zweizig counsel included a declaration and attached billing records by

counsel Williams Kastner. Those records showed that 66% of the $20,970 awarded was

specifically identified to other actions by Williams Kastner and not reasonably connected to the

anti-SLAPP. The fraudulent fee award was solicited by Steele, Mosman and the PLF and

constitutes a violation of the Hobbs Act, and predicate acts under Federal and Oregon RICO.

(The Thirty Sixth Act).




PAGE 33. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                              Attachment 1, Page 35 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page38
                                                                34ofof101
                                                                       48




   116. On December 21, 2020 (case 19cv01547) admitted in a deposition and under oath that he

duped the jury in case 3: l 5-cv-2401, lying about the existence of forensic reports showing that

he did download and disseminate child porn from an employer owned computer used exclusively

by Zweizig in his home in New Jersey from 2001 through mid-May 2003. Zweizig admitted that

his former attorney, Ward Greene, resigned after evaluating the computer forensic reports

showing Zweizig' s child porn and other criminal activity. Zweizig admitted that his former

attorney, Ward Greene resigned no longer wanting to be associated with Zweizig and the raping

of children. Zweizig admitted that the PLF represented him in cases 19cv14552 and 19cv01547,

without request or repair and on information with the full knowledge that Zweizig is still

engaged in the dissemination of child porn. Representation was solicited by the defendants and

the free assistance implicates the Hobbs Act and predicate acts under Federal and Oregon RICO

(The Thirty Seventh Act).

   117. The jury award in case 3: 15-cv-2401 was appealed to the 9th Circuit on multiple grounds.

9th Circuit Judge Richard Paez requested assignment to this case. Under Oregon Law (Livingston

case), a non-signatory may compel arbitration against a signatory plaintiff if the claims are

contemplated under the contract. In 2011 Zweizig was awarded damages under ORS 659 A.199,

.230 and .30(1)(f). Zweizig argued for affirmation of the award.The case was affirmed by the

USDCOR, by Judge Papak. In 2015 Zweizig pursued claims under ORS 659A.199, .230 and

.30(1)(f) and (g) and against the same parties. Judge Paez refused to bound by Oregon law and

compel arbitration. The 9th Circuit is bound by Oregon law on the issue of equitable estoppel,

Beeman v. Anthem Prescription Mgmt., LLC, 689 F.3d 1002, 1008 (9th Cir. 2012). On

information and belief the defendants solicited Judge Paez to refuse to follow Oregon law in

favor of Zweizig and the trafficking of children. (The Thirty Eighth Act).



PAGE 34. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                              Attachment 1, Page 36 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page39
                                                                35ofof101
                                                                       48




   118. In March 2021, Zweizig filed a Motion for execution of a writ to sale Plaintiffs

homestead in Clackamas County Oregon. Plaintiff Rote in objecting to the writ, showed that

Zweizig lacked standing to file the writ because the sales price of the home was insufficient to

pay the liens superior to Zweizig's. In parallel litigation, Plaintiff Rote successfully discharged

the Zweizig liens after three hearing, wherein Zweizig presented no evidence to challenge the

value of the sale to an independent third party. The Deschutes County Court nonetheless

approved the writ during the covid moratorium. On information and belief the defendants

solicited the Deschutes Court through Chief Judge Wells Ashby, an act of retaliation for naming

the defendants in this case and exposing the defendants' support of child pornography. (The

Thirty Ninth Act).

   119. In September 2020, the U.S. Marshals Service harassed and attempted to intimidate

Plaintiff Rote and his extended family. Two officers of the U.S. Marshals attempted to interview

Plaintiffs Mother-in-Law for Plaintiff investigating Mosman. The U.S. Marshals contacted

Tanya Rote and even suggested to her that she should be cautious with Plaintiff. The U.S.

Marshals Service contacted Plaintiff and inquired about this lawsuit and plaintiff's blog posts

documenting an investigation of Mosman, his history of supporting child pornography and his

connection to the PLF. (The Fortieth Act).

                                 FIRST CLAIM FOR RELIEF
                                        42 u.s.c. §1983
                        Violation of Plaintiff's First Amendment Rights

                                      Against All Defendants

   120. Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 119 as

though fully set forth herein.

   121.In all claims in this action, plaintiff alleges:



PAGE 35. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                               Attachment 1, Page 37 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page40
                                                                36ofof101
                                                                       48




   a. the plaintiff was engaged in a constitutionally protected activity;

   b. the defendant's actions against the plaintiff would chill a person of ordinary firmness from

   continuing to engage in the protected activity; and

   c. the plaintiff's protected activity was a substantial or motivating factor in the defendant's

   conduct.

   122. The Statute provides that every person who, under color of any statute, ordinance,

regulation, custom, or usage, of any State or Territory or the District of Columbia, subjects, or

causes to be subjected, any citizen of the United States or other person within the jurisdiction

thereof to the deprivation of any rights, privileges, or immunities secured by the Constitution and

laws, shall be liable to the party injured in an action at law, suit in equity, or other proper

proceeding for redress, except that in any action brought against a judicial officer for an act or

omission taken in such officer's judicial capacity, injunctive relief shall not be granted unless a

declaratory decree was violated or declaratory relief was unavailable.

   123. Under the Oregon Constitution, Article I, Section 8, No law shall be passed restraining

the free expression of opinion, or restricting the right to speak, write, or print freely on any

subject whatever; but every person shall be responsible for the abuse of this right.

   124. Plaintiff Rote exercised his constitutional right to freedom of speech by blogging,

tweeting and otherwise publishing about matters of public concern and national debate, among

them being the efficacy of arbitration, failures of the judiciary to reign in arbitrators, the right to

file a complaint to a body administering judicial conduct without fear of repercussion and

persecution, to disclose ex-parte and other forms of misconduct by court staff when found, to

publish the results of ongoing litigation and to question the court's adopting a poster child who

disseminates child porn. Plaintiff also exercised his constitutional right of petition for redress of



PAGE 36. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                                 Attachment 1, Page 38 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page41
                                                                37ofof101
                                                                       48




the defendants conscious targeting plaintiff for exercising his right of petition including the filing

of this case.

   125. Defendants are "persons" within the meaning of 42 U.S.C. § 1983.

   126. The acts of defendants described herein were taken under color of federal and state law.

   12 7. Z weizig and his attorneys, recognizing the Z weizig had been offered anonymity and

redaction and refused that accommodation, petitioned the defendant actors to punish Rote for

Rote's critiques of the Court. That solicitation of bias was repeated more than a dozen times

including by the PLF and its vendors (an arm of the state judicial department). Defendants

embraced those solicitations of bias by and through violations of due process.

   128. Defendants' acts violated Rote's rights under the First Amendment of the United States

Constitution, made applicable to the State of Oregon through the 14th Amendment.

   129. Defendants' acts were designed to punish and discourage the open publication of

critiques of the court and court staff, among those cited including but not limited to ex-parte

contact between Sandra Ware and Kugler' s law clerk, the publishing of a letter therein, placing

and allowing the Jones and Kugler transcripts to taint proceedings, judicial endorsed acts of

perjury, concealment of perjury that serves the interest of judicial actors, financial malfeasance,

the destruction of trial recordings, harassment, intimidation etc.

   130. Defendants' constitutional abuses and violations were and are directly caused by

policies, practices and/or customs devised, implemented, enforced, encouraged and sanctioned

by Defendants.

   131. Defendants' acts were also intended to prolong litigation as a direct and proximate form

of persecution, to cause financial harm.




PAGE 37. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                                Attachment 1, Page 39 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page42
                                                                38ofof101
                                                                       48




   13 2. As a direct and proximate result of defendants' unlawful acts, Rote has suffered

economic damages and harm to his reputation.

   13 3. As a direct and proximate result of defendants' unlawful acts, Rote has suffered outrage,

betrayal, offense, indignity, embarrassment, humiliation, injury and insult in amounts to be

determined by the jury at trial.

   134. Rote seeks recovery of all other equitable relief and punitive damages as provided by

law, in addition to reimbursement of his reasonable attorneys' fees and costs pursuant to 42 USC

§ 1988 and 28 USC § 1927, if appropriate.

   135. Defendants' conduct toward Rote demonstrated a wanton, reckless or callous indifference

to the constitutional rights of Rote, which warrants an imposition of punitive damages in such

amounts as the jury may deem appropriate to deter future violations.

                           SECOND CLAIM FOR RELIEF
                                    42 u.s.c. §1983
    As Applied Due Process Violations of Plaintiff's Right To An Impartial Tribunal As
                      Guaranteed By The Fourteenth Amendment

                                       Against All Defendants

   136. Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 133 as

though fully set forth herein.

   137.42 U.S.C. § 1983 and the Due Process Clause of the Fourteenth Amendment, provides

that no State shall "deprive any person of life, liberty, or property, without due process of law."

   138. Defendants are "persons" within the meaning of 42 U.S.C. § 1983.

   139. "It is axiomatic that '[a] fair trial in a fair tribunal is a basic requirement of due process."'

Caperton v. A.T Massey Coal Co., No. 08-22, 2009 U.S. Lexis 4157, at *15 (June 8, 2009)

(citing In re Murchison, 329 U.S. 133, 136 (1955)).




PAGE 38. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                                  Attachment 1, Page 40 of 50
          Case
          Case3:22-cv-00985-SI
               3:19-cv-01988-SI Document
                                Document16
                                         51 Filed
                                             Filed08/17/22
                                                   08/09/21 Page
                                                             Page43
                                                                  39ofof101
                                                                         48




   140. At a minimum, a person who will be deprived of a right is entitled to a fair decision-

making process by an impartial decision-maker. Defendants' acts were by intent and design to

deprive Rote an impartial decision-maker, the self-evident acts presenting most often as an abuse

of judicial discretion.

   141. The Jones and Kugler transcripts were filed and encouraged to be filed in the described

litigation more than ten times, in six legal actions and in three states with the intent of

encouraging if not demanding judicial bias. The judicial actors identified as defendants in this

action embraced the persecution of plaintiff without regard to the truth, facts, law or

consideration that their acts aided and abetted the dissemination of child pornography and

expanded the footprint of child trafficking.

   142.Among the abuses by the court include refusal to vacate an arbitration award stemming

from the arbitrators acknowledgement of inability to perform the duties demanded, refusal to

permit discovery, refusal to allow evidence, refusal to compel arbitration, refusal to recuse

(Papak, Hernandez and Portland Division), refusal to sanction, collusion in the misconduct of

opposing counsel, aiding and abetting cybercrime, editing and destroying a trial record, all of

which was intended to punish the plaintiff for the exercise of his constitutional right to free

speech.

   143. The acts of defendants when measured against applicable law, res judicata, unrefuted

facts, were objectively unreasonable and unsupported, most often presented as a commitment to

ignoring proffered evidence.

   144. The acts of defendants described herein were taken under color of federal and state law.

   145. Defendants' acts violated Rote's rights under the Fourteenth Amendment of the United

States Constitution, made applicable to the State of Oregon and Colorado ..



PAGE 39. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                                Attachment 1, Page 41 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page44
                                                                40ofof101
                                                                       48




   146. Defendants' constitutional abuses and violations were and are directly caused by policies,

practices and/or customs devised, implemented, enforced, encouraged and sanctioned by

Defendants including: (a) the failure to adequately and properly train and supervise Federal and

State employees; (b) the failure to properly and adequately monitor and discipline Federal and

State employees; (c) the overt and tacit encouragement and sanctioning of, and failure to rectify,

the practices that led to the Fourteenth Amendment violations here.

   147. As a direct and proximate result of defendants' unlawful acts, Rote has suffered

economic damages and suffered harm to his reputation.

   148. As a direct and proximate result of defendants' unlawful acts, Rote has suffered outrage,

betrayal, offense, indignity, embarrassment, humiliation, injury and insult in amounts to be

determined by the jury at trial.

   149. Rote seeks recovery of all other equitable relief and punitive damages as provided by

law, in addition to reimbursement of his reasonable attorneys' fees and costs pursuant to 42 USC

§ 1988 and 28 USC § 1927, if appropriate.

   150. Defendants' conduct toward Rote demonstrated a wanton, reckless or callous indifference

to the constitutional rights of Rote, which warrants an imposition of punitive damages in such

amounts as the jury may deem appropriate to deter future violations.



                                    THIRD CLAIM FOR RELIEF
                                           42 u.s.c. §1985
                                   Conspiracy to Violate Civil Rights

                                        Against All Defendants

   151 . Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 149 as

though fully set forth herein.



PAGE 40. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                               Attachment 1, Page 42 of 50
         Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                               Document16
                                        51 Filed
                                            Filed08/17/22
                                                  08/09/21 Page
                                                            Page45
                                                                 41ofof101
                                                                        48




   152.42 U.S.C.§ 1985 claims arise from: (1) a conspiracy; (2) to deprive plaintiff of equal

protection or equal privileges and immunities; (3) an act in furtherance of the conspiracy; and (4)

an injury or deprivation resulting therefrom." Tilton v. Richardson, 6 F.3d 683, 686 (10th Cir.

1993).

   153. The defendants knowingly and willing punished Rote for his public speech, denied Rote

critical elements of due process influencing or deciding the outcome of litigation to which Rote

was a party, by defendants objectively unreasonable bases in law and fact nefariously

masquerading as judicial deference, with the intent of hurting Rote to whom they also ascribe a

separate socio-economic class and as a business owner.

   154.Any single act stands out as an abuse of judicial discretion. The sum of the acts presents a

prolonged and calculated pattern of persecution among the defendants as conspirators with the

intent of causing economic harm to Rote, singling Rote out to punish his speech and to deny him

due process.

   155. The collusion between actors named as defendants in this case and counsel not named as

defendants is best defined by counsel filing the Jones transcript, Kugler Show Cause Order and

Kugler transcript some ten times in six actions in three different states, each time a criminal

request for the abuse of a public office and each time not sanctioned by the court.

   156. Opposing counsel first filed the Jones transcript ex-parte in 2004 in Camden, N.J.; then

the Jones and Kugler transcripts in 2005-2006 in N.J State Court; then again in the 2010

arbitration; then the Jones and Kugler transcripts and Crow complaint in 2012 with the

confirmation; then the Kugler and Jones Transcript in 2014 (3:14-CV-406); then the Kugler and

Jones transcript in the 3:15-CV-2401 case some three times; then in the 2016 defamation case

against Christiansen and Marshall, this time filed by opposing counsel hired by and deemed filed



PAGE 41. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                               Attachment 1, Page 43 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page46
                                                                42ofof101
                                                                       48




by the Oregon State Bar PLF and Carol Bernick; then finally also filed in the Oregon Court of

Appeals resulting in an AWOP. The AWOP was an act of support for the courts civil rights

violations, solicited and secured by James Egan.

   157. Officers of the court have through these filings requested and, upon refiling, confirmed

that Rote has and will be denied due process.

   158. In state court, Crow, Weishaupl, Herndon, Egan and Steele conspired with Kugler,

Papak, Mosman and opposing counsel to punish speech about the court, to deny Rote due

process and to deny him an independent triar. Carol Bernick aided and abetted in the

dissemination of the Jones and Kugler transcripts and in the acts violating Rote's free speech and

right to due process. Rote put Bernick on notice about the perjury and acts of PLF counsel and

Bernick endorsed those acts.

   159. In Federal court, Papak, Kugler, Mosman, Hernandez, Bernick and Williams aided and

abetted in punishing Rote's speech and denying Rote dues process by actively engaging with

opposing counsel in strategy, motion and advocacy, by effecting the quashing of subpoenas, by

destroying recordings, by assisting in the cover up of inaccurate trial transcripts and through

multiple acts of intimidation and suppression of evidence.

   160. The state and federal actors and conspirator defendants implicate their respective

employer agencies and departments given the representation that they were acting under the

color of the law administered by those employers.

   161. Those employers failed to act even when Rote called for recusal of one or more of them

when bias appeared probable or imminent. Those employer agencies and departments chose to

not act to protect the civil rights of plaintiff Rote.




PAGE 42. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                              Attachment 1, Page 44 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page47
                                                                43ofof101
                                                                       48




   162. As a direct and proximate result of defendants' unlawful acts, Rote has suffered

economic damages and harm to his reputation.

   163. As a direct and proximate result of defendants' unlawful acts, Rote has suffered outrage,

betrayal, offense, indignity, embarrassment, humiliation, injury and insult in amounts to be

determined by the jury at trial.

   164. Rote seeks recovery of all other equitable relief and punitive damages as provided by

law, in addition to reimbursement of his reasonable attorneys' fees and costs pursuant to 42 USC

§ 1988 and 28 USC § 1927, if appropriate.

   165. Defendants' conduct toward Rote demonstrated a wanton, reckless or callous indifference

to the constitutional rights of Rote, which warrants an imposition of punitive damages in such

amounts as the jury may deem appropriate to deter future violations.

                               FOURTH CLAIM FOR RELIEF
                                        42 u.s.c. §2201
                               Declaratory and Equitable Relief
         Against The Unites States, The State of Oregon, The State of Colorado, Named
                             Branches, Agencies and Department

   166. Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 164 as

though fully set forth herein.

   167. As described herein, Rote has established a violation of his First and Fourteenth

Amendment Rights and requests a Declaration thereof.

   168. Rote hereby requests that the United States, State of Oregon and State of Colorado, and

its respective employees and officials take immediate, voluntary steps to adhere to the

requirements of the First, Fourth, and Fourteenth Amendment to the United States Constitution

by effectuating the following:




PAGE 43. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                               Attachment 1, Page 45 of 50
     Case
     Case3:22-cv-00985-SI
          3:19-cv-01988-SI Document
                           Document16
                                    51 Filed
                                        Filed08/17/22
                                              08/09/21 Page
                                                        Page48
                                                             44ofof101
                                                                    48




     a) The United States and States and its officials shall change and/or supplement any

        written policy, official practice, or training it gives to its employee, to ensure that

        those engaging in free speech or publishing a complaint are treated fairly and with

        respect and are not discriminated against or retaliated against because of their

        protected speech.

     b) To the United States, open an investigation on Hon. Robert Kugler, Hon. Paul Papak,

        Hon. Hernandez, Hon. Mosman and U.S. Attorney Billy Williams to determine the

        lengths to which they have engaged in civil rights violations, publish the content of

        the inquiry and results, sanction, suspend, make recommendation of impeachment to

        the U.S. House of Representatives and take other steps necessary to preserve the

        integrity of the litigation process, to preserve the rights of the citizens of the United

        States.

     c) To the States, open an investigation on Hon. Elizabeth Weishaupl, Hon. James Egan,

        Hon. Robert Herndon and Hon. Kathie Steel to determine the lengths to which they

        have engaged in civil rights violations, publish the content of the inquiry and results,

        sanction, suspend, remove, disbar and take other steps necessary to preserve the

        integrity of the litigation process and to preserve the rights of the citizens of those

        States and the United States.

     d) To the State of Oregon, open an investigation on William B. Crow to determine the

        lengths to which he engaged in civil rights violations, publish the content of the

        inquiry and results, review the Disciplinary Board action taken while Crow was Chair

        of that body, amend the Oregon Arbitration Act to impose malpractice liability and

        coverage on arbitrators in Oregon and take other steps necessary to preserve the



PAGE 44. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                             Attachment 1, Page 46 of 50
     Case
     Case3:22-cv-00985-SI
          3:19-cv-01988-SI Document
                           Document16
                                    51 Filed
                                        Filed08/17/22
                                              08/09/21 Page
                                                        Page49
                                                             45ofof101
                                                                    48




        integrity of the litigation process and to preserve the rights of the citizens of Oregon

        and the United States. Plaintiff does wish to acknowledge that Crow has been a

        willing communicator and does not wish to impugn him, but the system must be

        improved and malpractice must be available to litigants.

     e) To the State of Oregon, open an investigation on the Oregon State Bar Association,

        the Professional Liability Fund, Carol Bernick, Nena Cook and Amber Hollister to

        determine the lengths to which they engaged in civil rights violations, publish the

        content of the inquiry and results, audit the financial records of the PLF to determine

        if there has been malfeasance in any form (including bribes and influence to the

        judiciary and/or legislature), sanction, suspend, remove, disbar and to take other steps

        necessary to preserve the integrity of the litigation process and to preserve the rights

        of the citizens of Oregon and the United States.

     f) To the State of Oregon, to remove the PLF from the umbrella of the Oregon

        Department of Justice, to convert the PLF to a for-profit corporation subject to federal

        and state income tax as any other captive insurance company would be, to do so in an

        orderly manner and to take other steps necessary to preserve the integrity of the

        litigation process and preserve the rights of the citizens of Oregon and the United

        States.

     g) To the State of Oregon, open an investigation on Oregon attorneys who have filed the

        Kugler and Jones transcripts, or aided and abetted in the filing of these transcripts, to

        determine the lengths to which they engaged in civil rights violations, publish the

        content of the inquiry and results, to sanction, suspend, disbar and take other steps

        necessary to preserve the integrity of the litigation process and to preserve the rights

        of the citizens of Oregon and the United.



PAGE 45. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                            Attachment 1, Page 47 of 50
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       51 Filed
                                           Filed08/17/22
                                                 08/09/21 Page
                                                           Page50
                                                                46ofof101
                                                                       48




   169. Depending upon the response to Rote's requests, described above, and other information

that is learned during the course of the litigation, he will seek injunctive relief and ask the federal

court to order Defendants United States, State of Oregon and State of Colorado and its

employees and officials to make the necessary changes to their policies and official practices, to

prevent further egregious violations of the constitutional rights. To the extent it may be

necessary, Rote also will request the federal court to retain continuing jurisdiction and oversight

over the operation of the State of Oregon in the respects described above, to ensure that the

changes are implemented in a timely and effective manner.

   170. Rote also requests an award his attorney fees and litigation expenses/costs against

defendants pursuant to 42 USC§ 1988.

   WHEREFORE, Plaintiff Rote prays for judgment against defendants as follows:

   1.   Economic damages in the form of consequential damages and prejudgment interest in an

amount to be determined at trial, but not less than $10,000,000 plus three times the damages

associated with the RICO violations;

   2.   Noneconomic damages in an amount to be determined at trial, but not less than

$50,000,000;

   3.   All available equitable relief and damages in amounts to be determined at trial, consistent

with the claims above against defendants;

  4.    Punitive damages consistent with the claims above against defendants in amounts to be

determined at trial;

   5.   Reasonable attorneys' fees and litigation expenses/costs herein, including expert witness

fees and expenses, consistent with the claims above against defendants; and

   6.   Grant such other relief as is just and proper.



PAGE 46. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                                                Attachment 1, Page 48 of 50
     Case
     Case3:22-cv-00985-SI
          3:19-cv-01988-SI Document
                           Document16
                                    51 Filed
                                        Filed08/17/22
                                              08/09/21 Page
                                                        Page51
                                                             47ofof101
                                                                    48




  PLAINTIFF HEREBY REQUESTS A JURY TRIAL.



     Dated: August 9, 2021


                                    s/ Timothy C. Rote
                                    Timothy C. Rote
                                    Pro Se Plaintiff




PAGE 47. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                           Attachment 1, Page 49 of 50
          Case
          Case3:22-cv-00985-SI
               3:19-cv-01988-SI Document
                                Document16
                                         51 Filed
                                             Filed08/17/22
                                                   08/09/21 Page
                                                             Page52
                                                                  48ofof101
                                                                         48




                               CERTIFICATE OF SERVICE

I hereby certify that on August 9, 2021, I filed the foregoing with the Clerk of the Court which
will send notification of such filing to the following:

ALL COUNSEL REGISTERED

and I hereby certify that I have also emailed the document to the following participants while my
motion for ECF is pending:

Joseph.arellano@foster.com
N athaniel.Aggrey@doj .state.or. us
paul.cirino@usdoj.gov

and sent by first class mail to:

COLORADO JUDICIAL BRANCH
THE HON. ELIZABETH WEISHAUPL
STATE COURT ADMINISTRATORS OFFICE
1300 BROADWAYN., SUITE 1200
DENVER, COLORADO 80203



                                                            s/ Timothy C. Rote
                                                            Timothy C. Rote
                                                            Pro Se Plaintiff
                                                          E-Mail: Timothy.Rote@gmail.com




PAGE 1.     CERTIFICATE OF SERVICE


                                                                             Attachment 1, Page 50 of 50
                  Case 3:22-cv-00985-SI        Document 16        Filed 08/17/22       Page 53 of 101


Bennett-Hunter Carolyn

From:                             info@ord.uscourts.gov
Sent:                             Thursday, December 30, 2021 7:49 AM
To:                               nobody@ord.uscourts.gov
Subject:                          Activity in Case 3:19-cv-01988-SI Rote v. Committee on Judicial Conduct and Disability
                                  of the Judicial Conference of the United States et al Opinion and Order

Follow Up Flag:                   Follow up
Flag Status:                      Flagged



*CAUTION EXTERNAL EMAIL* This email originated from outside of DOJ. Treat attachments and links with caution. *CAUTION
EXTERNAL EMAIL*



This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to this e-mail
because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** There is no charge for viewing opinions.

                                                   U.S. District Court

                                                   District of Oregon

Notice of Electronic Filing

The following transaction was entered on 12/30/2021 at 7:48 AM PST and filed on 12/30/2021
                    Rote v. Committee on Judicial Conduct and Disability of the Judicial Conference of the United States
Case Name:
                    et al
Case Number:        3:19-cv-01988-SI
Filer:
Document
                    76
Number:

Docket Text:
Opinion and Order - The Court GRANTS all pending motions to dismiss (ECF [55], ECF [56],
and ECF [64]) and dismisses all claims asserted against all Defendants other than the
Colorado Judicial Department and Colorado Judge Elizabeth Weishaupl. Signed on 12/30/2021
by Judge Michael H. Simon. (mja)


3:19-cv-01988-SI Notice has been electronically mailed to:

Jared Hager    jared.hager@usdoj.gov, CaseView.ECF@usdoj.gov, samantha.schultz@usdoj.gov

Matthew J. Yium     matthew.yium@foster.com, erika.wedenoja@foster.com

Nathaniel Aggrey nathaniel.aggrey@doj.state.or.us, Carolyn.Bennett-Hunter@doj.state.or.us,
Debbie.Sword@doj.state.or.us


                                                             1
                                                                                            Attachment 2, Page 1 of 48
                  Case 3:22-cv-00985-SI        Document 16        Filed 08/17/22   Page 54 of 101
Timothy C. Rote    timothy.rote@gmail.com

3:19-cv-01988-SI Notice will --
                             not be electronically mailed to:

Paul Cirino
U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
555 Fourth Street, NW
Washington, DC 20530

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:Not Available
Electronic document Stamp:
[STAMP ordStamp_ID=875559790 [Date=12/30/2021] [FileNumber=7684611-0]
[7c70a9cd80eeacd8965d74314344dcd53151f8277bf3df29f845b1087eea73b0c9b0a
ba532cbe2d977a69407538af5c11bba017970e1a7d25bfc8eb5419666df]]




                                                            2
                                                                                       Attachment 2, Page 2 of 48
       Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                               Document16
                                        76 Filed
                                            Filed08/17/22
                                                  12/30/21 Page
                                                            Page551 of 101
                                                                       46




       1.




                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON


TIMOTHY C. ROTE,                                  Case No. 3:19-cv-1988-SI

              Plaintiff,                          OPINION AND ORDER

       V.

COMMITTEE ON JUDICIAL CONDUCT
AND DISABILITY OF THE JUDICIAL
CONFERENCE OF THE UNITED
STATES, UNITED STATES JUDICIAL
DEPARMENT OF JUSTICE, OREGON
STATE BAR and PROFESSIONAL
LIABILITY FUND, OREGON JUDICIAL
DEPARTMENT, COLORADO JUDICIAL
DEPARTMENT, THE HON. ROBERT
KUGLER, THE HON. MICHAEL
MOSMAN, THE HON. MARCO
HERNANDEZ, THE HON. PAUL PAPAK,
THE HON. ELIZABETH WEISHAUPL,
THE HON. ROBERT HERNDON, THE
HON. JAMES EGAN, THE HON. KATHIE
STEELE, BILLY WILLIAMS, CAROL
BERNICK, NANCY WALKER, and JOHN
DOES 1-5,

              Defendants.

Timothy C. Rote, pro se.

Scott Erik Asphaug, Acting United States Attorney, and Jared D. Hager, Assistant United States
Attorney, U.S . ATTORNEY'S OFFICE FOR THE DISTRICT OF OREGON, 1000 SW Third Avenue,
Suite 600, Portland, OR 97204. Of Attorneys for the Committee on Judicial Conduct and


PAGE 1 - OPINION AND ORDER
                                                                           Attachment 2, Page 3 of 48
        Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                                Document16
                                         76 Filed
                                             Filed08/17/22
                                                   12/30/21 Page
                                                             Page562 of 101
                                                                        46




Disability of the Judicial Conference of the United States, United States Department of Justice,
Hon. Robert Kugler, Hon. Paul Papak, Hon. Marco Hernandez, Hon. Michael Mosman, Nancy
Walker, and Billy Williams.

Ellen F. Rosenblum, Attorney General, and Nathaniel Aggrey, Assistant Attorney General,
OREGON DEPARTMENT OF JUSTICE, 1162 Court Street NE, Salem, OR 97301. Of Attorneys for
Defendants Oregon Judicial Department, Hon. Robert Herndon, Hon. James Egan, and Hon.
Kathie F. Steele.

Joseph Arellano and Matthew J. Yium, FOSTER GARVEY PC, 121 SW Morrison Street, Portland,
OR 97204. Of Attorneys for Defendants Professional Liability Fund, Carol Bernick, and Oregon
State Bar.

Michael H. Simon, District Judge.

       Plaintiff Timothy Rote, representing himself, brings this lawsuit against several state and

federal judges, several state and federal agencies, a court reporter, and others. Plaintiff alleges

that Defendants have engaged in a conspiracy to retaliate against him and deprive him of his

constitutional and civil rights. Plaintiffs claims arise from events relating to a series of lawsuits

spanning more than 20 years. Plaintiff alleges that many of the individual defendants used their

positions of authority to carry out personal vendettas against him.

       Now before the Court are three motions to dismiss filed by three sets of Defendants:

(1) the Oregon Judicial Department, Judge Robert Herndon, Judge James Egan, and Judge

Kathie Steele (collectively, the State Defendants); (2) the Professional Liability Fund (PLF),

Carol Bernick (the previous executive director of the PLF), and the Oregon State Bar; and (3) the

Committee on Judicial Conduct and Disability of the Judicial Conference of the United States

(the Federal Judicial Conduct Committee), the United States Department of Justice, U.S. District

Judge Robert Kugler, U.S. Magistrate Judge Paul Papak, Chief U.S. District Judge Marco A.

Hernandez, U.S. District Judge Michael W. Mosman, former U.S. Attorney Billy Williams, and




PAGE 2 - OPINION AND ORDER
                                                                                 Attachment 2, Page 4 of 48
        Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                                Document16
                                         76 Filed
                                             Filed08/17/22
                                                   12/30/21 Page
                                                             Page573 of 101
                                                                        46




retired court reporter Nancy Walker (collectively, the Federal Defendants). 1 At oral argument,

Plaintiff stated that he did not object to the dismissal of the following four Defendants: the

Oregon State Bar, the Federal Judicial Conduct Committee, the U.S. Department of Justice, and

Billy Williams. Accordingly, the Court dismisses these four Defendants. For the reasons stated

below, the Court grants all pending motions to dismiss and dismisses all claims asserted against

all remaining Defendants other than the two Colorado Defendants.

                                           STANDARDS

A. Motion to Dismiss for Lack of Subject Matter Jurisdiction

       Federal courts are courts oflimitedjurisdiction. Gunn v. Minton, 568 U.S. 251,256

(2013). Thus, a court is to presume "that a cause lies outside this limited jurisdiction, and the

burden of establishing the contrary rests upon the party asserting jurisdiction." Kokkonen v.

Guardian Life Ins. Co. ofAm., 511 U.S. 375,377 (1994) (citations omitted); see also Robinson v.

United States, 586 F.3d 683,685 (9th Cir. 2009); Safe Air for Everyone v. Meyer, 373 F.3d 1035,

1039 (9th Cir. 2004). A motion to dismiss under Rule 12(b)(l) of the Federal Rules of Civil

Procedure for lack of "subject-matter jurisdiction, because it involves a court's power to hear a

case, can never be forfeited or waived." United States v. Cotton, 535 U.S. 625, 630 (2002). An

objection that a particular court lacks subject matter jurisdiction may be raised by any party or by

the court on its own initiative at any time. Arbaugh v. Y&H Corp., 546 U.S. 500, 506 (2006);

Fed. R. Civ. P. 12(b)(l). The Court must dismiss any case over which it lacks subject matter

jurisdiction. Fed. R. Civ. P. 12(h)(3); see also Pistor v. Garcia, 791 F.3d 1104, 1111 (9th


       1 Two   additional Defendants, the Colorado Judicial Department and Colorado Judge
Elizabeth Weishaupl (collectively, the Colorado Defendants), have not yet filed an answer or
other responsive pleading in this action. At oral argument, Plaintiff stated that he intends to move
for default against the Colorado Defendants. Accordingly, this Opinion and Order does not
resolve any claim asserted against the two Colorado Defendants.



PAGE 3 - OPINION AND ORDER
                                                                                 Attachment 2, Page 5 of 48
        Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                                Document16
                                         76 Filed
                                             Filed08/17/22
                                                   12/30/21 Page
                                                             Page58
                                                                  4 of 101
                                                                       46




Cir. 2015) (noting that when a court lacks subject-matter jurisdiction, meaning it lacks the

statutory or constitutional power to adjudicate a case, the court must dismiss the complaint, even

sua sponte if necessary).

       A Rule 12(b)(1) motion to dismiss for lack of subject matter jurisdiction may be either

"facial" or "factual." See Safe Air for Everyone, 373 F.3d at 1039. A facial attack on subject

matter jurisdiction is based on the assertion that the allegations in the complaint are insufficient

to invoke federal jurisdiction. Id. "A jurisdictional challenge is factual where 'the challenger

disputes the truth of the allegations that, by themselves, would otherwise invoke federal

jurisdiction."' Pride v. Correa, 719 F.3d 1130, 1133 n.6 (9th Cir. 2013) (quoting Safe Air for

Everyone, 373 F.3d at 1039)). When a defendant factually challenges the plaintiffs assertion of

jurisdiction, a court does not presume the truthfulness of the plaintiffs allegations and may

consider evidence extrinsic to the complaint. See Terenkian v. Republic ofIraq, 694 F.3d 1122,

1131 (9th Cir. 2012); Robinson, 586 F.3d at 685; Safe Air for Everyone, 373 F.3d at 1039. A

factual challenge "can attack the substance of a complaint's jurisdictional allegations despite

their formal sufficiency." Dreier v. United States, 106 F.3d 844, 847 (9th Cir. 1996) (citation and

quotation marks omitted).

B. Motion to Dismiss for Failure to State a Claim

       A motion to dismiss for failure to state a claim may be granted only when there is no

cognizable legal theory to support the claim or when the complaint lacks sufficient factual

allegations to state a facially plausible claim for relief. Shroyer v. New Cingular Wireless Servs. ,

Inc., 622 F.3d 1035, 1041 (9th Cir. 2010). In evaluating the sufficiency of a complaint's factual

allegations, the court must accept as true all well-pleaded material facts alleged in the complaint

and construe them in the light most favorable to the non-moving party. Wilson v. Hewlett-

Packard Co., 668 F.3d 1136, 1140 (9th Cir. 2012); Daniels-Hall v. Nat'l Educ. Ass 'n, 629


PAGE 4 - OPINION AND ORDER
                                                                                 Attachment 2, Page 6 of 48
        Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                                Document16
                                         76 Filed
                                             Filed08/17/22
                                                   12/30/21 Page
                                                             Page595 of 101
                                                                        46




F.3d 992, 998 (9th Cir. 2010). To be entitled to a presumption of truth, allegations in a complaint

"may not simply recite the elements of a cause of action, but must contain sufficient allegations

of underlying facts to give fair notice and to enable the opposing party to defend itself

effectively." Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011). The court must draw all

reasonable inferences from the factual allegations in favor of the plaintiff. Newcal Indus. v. Ikon

Off Sol., 513 F.3d 1038, 1043 n.2 (9th Cir. 2008). The court need not, however, credit a

plaintiffs legal conclusions that are couched as factual allegations. Ashcroft v. Iqbal, 556

U.S. 662, 678-79 (2009).

       A complaint must contain sufficient factual allegations to "plausibly suggest an

entitlement to relief, such that it is not unfair to require the opposing party to be subjected to the

expense of discovery and continued litigation." Starr, 652 F .3d at 1216. "A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged." Iqbal, 556 U.S. at 678 (citing

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007)). "The plausibility standard is not akin to a

probability requirement, but it asks for more than a sheer possibility that a defendant has acted

unlawfully." Mashiri v. Epstein Grinnell & Howell, 845 F.3d 984,988 (9th Cir. 2017) (quotation

marks omitted).

       A court must liberally construe the filings of a self-represented, or pro se, plaintiff and

afford the plaintiff the benefit of any reasonable doubt. Hebbe v. Pliler, 627 F.3d 338,342 (9th

Cir. 2010). Further, "a prose complaint, however inartfully pleaded, must be held to less

stringent standards than formal pleadings drafted by lawyers." Florer v. Congregation Pidyon

Shevuyim, NA., 639 F.3d 916, 923 n.4 (9th Cir. 2011) (quotation marks omitted). "Unless it is

absolutely clear that no amendment can cure the defect, ... a pro se litigant is entitled to notice




PAGE 5 - OPINION AND ORDER
                                                                                  Attachment 2, Page 7 of 48
        Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                                Document16
                                         76 Filed
                                             Filed08/17/22
                                                   12/30/21 Page
                                                             Page606 of 101
                                                                        46




of the complaint's deficiencies and an opportunity to amend prior to dismissal of the action."

Garity v. APWU Nat 'l Lab. Org., 828 F.3d 848, 854 (9th Cir. 2016) (alteration in original)

(quoting Lucas v. Dep 't of Corr., 66 F.3d 245,248 (9th Cir. 1995) (per curiam)). Under

Rule 8(a)(2) of the Federal Rules of Civil Procedure, however, every complaint must contain "a

short and plain statement of the claim showing that the pleader is entitled to relief." This

standard "does not require 'detailed factual allegations"' but does demand "more than an

unadorned, the defendant-unlawfully-harmed-me accusation." Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). "A pleading that

offers 'labels and conclusions' or 'a formulaic recitation of the elements of a cause of action will

not do."' Id. (quoting Twombly, 550 U.S. at 555).

                                          BACKGROUND
        Plaintiffs allegations arise from a series oflawsuits spanning more than 20 years in state

and federal court. Because Plaintiffs claims in this action arise from Defendants' alleged

conduct throughout this history oflitigation, the Court recounts Plaintiffs allegations about each

lawsuit. Plaintiff has included as defendants in these various lawsuits, including in this action,

the judges, attorneys, and court staff who have ruled against him or have otherwise taken actions

that Plaintiff challenges. Plaintiff alleges in this action that his current list of defendants here

retaliated against his exercise of free speech and conspired against him to deprive him of

procedural due process. At the request of the parties, the Court takes judicial notice of the

dockets and court filings in the following cases involving Plaintiff: Jones v. North West

Telemarketing Inc., Case No. 99-cv-990-JO (D. Or.); Zweizig v. Rote, Civ. No. 04-2025(RBK)

(D. N.J.); Northwest Direct Teleservices, Inc. v. Zweizig, Case No. 3:11-cv-910-PK (D. Or.);

Zweizig v. Northwest Direct Teleservice, Inc., Case No. 3:15-cv-2401-HZ (D. Or.); Rote v.

Marshall, Clackamas County Case No. 16CV07564; Rote v. Brandsness, Clackamas County


PAGE 6 - OPINION AND ORDER
                                                                                   Attachment 2, Page 8 of 48
        Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                                Document16
                                         76 Filed
                                             Filed08/17/22
                                                   12/30/21 Page
                                                             Page617 of 101
                                                                        46




Case No. 18CV45257; and Rote v. Marshall, Case No. 3:19-cv-82-MO (D. Or.). See Reyn 's

Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006) (stating that courts

"may take judicial notice of court filings and other matters of public record"). The Court recites

the following facts as alleged in Plaintiffs Second Amended Complaint and the additional facts

of which the Court has taken judicial notice. Solely for purposes of the pending motions to

dismiss, the Court accepts as true all well-pleaded facts stated in the Second Amended

Complaint.

A. Judge Jones Lawsuit

        In 1999, a former employee of one of Plaintiffs companies, Northwest Direct

Teleservices, Inc. (Northwest Direct), sued that company in Oregon federal court. U.S. District

Judge Robert E. Jones presided over that case. Shortly after the jury awarded damages to the

plaintiff in that lawsuit, according to Plaintiff here, the plaintiff in the earlier lawsuit, who also

shared the last name "Jones," stated that he was related to Judge Jones. Plaintiff here then sent a

letter to Judge Jones asking him to recuse himself. Judge Jones held a hearing on that request for

recusal, and during the hearing, Judge Jones expressed his concern with Mr. Rote's letter. Judge

Jones stated: "I don't want anything to do with this case. I have utter contempt for this person.

He wrote the court a very personal, very nasty letter. A hypocrite. So, get out of here. I am not

going to have anything to do with this. I will recuse myself." ECF 57-7, at 4. In this action,

Plaintiff refers to the transcript from that hearing as the "Jones Transcript." Plaintiff alleges that

several of the Defendants here filed the Jones Transcript in later lawsuits to retaliate against

Plaintiff for seeking recusal of Judge Jones.




PAGE 7 - OPINION AND ORDER
                                                                                   Attachment 2, Page 9 of 48
        Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                                Document16
                                         76 Filed
                                             Filed08/17/22
                                                   12/30/21 Page
                                                             Page628 of 101
                                                                        46




B. 2003 Employment Lawsuits and Arbitration

       1. Judge Kugler Litigation

       The genesis of Plaintiffs current dispute with Defendants here begins with the

circumstances of Max Zweizig's termination of employment from Plaintiff's business,

Northwest Direct. Plaintiff alleges that Zweizig tried to extort him by destroying Northwest

Direct's critical programming code and demanding a raise in exchange for restoring the

company's software system. Plaintiff then fired Zweizig. At some point near the end or shortly

after Zweizig's termination of employment, Zweizig returned a hard drive to Northwest Direct.

Plaintiff then hired an investigator to conduct a forensic report of the contents of that hard drive.

The investigator allegedly discovered that the hard drive contained child pornography. Plaintiff

has attempted to introduce that report in nearly all subsequent litigation involving Zweizig and

alleges in this action that because the judges presiding over those various lawsuits have either

excluded that evidence or otherwise ruled against Plaintiff, those judges are engaged in a

conspiracy to facilitate child trafficking and disseminate child pornography.

       After Plaintiff fired Zweizig, Zweizig sued Northwest Direct in New Jersey state court,

alleging that Plaintiff fired him in retaliation for Zweizig's accusation that Northwest Direct

overbilled its clients. Northwest Direct removed the case to federal court in New Jersey, with

U.S. District Judge Robert Kugler presiding. Plaintiff alleges that during that litigation Zweizig's

girlfriend, Sandra Ware, met with one of Judge Kugler' s law clerks, who allegedly was a law

school classmate with Ware. Plaintiff further alleges that during that meeting, Ware gave the law

clerk a copy of the Jones Transcript. Shortly thereafter, Judge Kugler remanded the case back to

New Jersey state court. Plaintiff alleges that Judge Kugler's decision to remand is a "self-evident

act of prejudice" and an attempt to deny Plaintiff due process.




PAGE 8 - OPINION AND ORDER
                                                                                Attachment 2, Page 10 of 48
        Case
         Case3:22-cv-00985-SI
              3:19-cv-01988-SI Document
                                Document16
                                         76 Filed
                                             Filed08/17/22
                                                   12/30/21 Page
                                                             Page639 of 101
                                                                        46




       At some point thereafter, Plaintiff sent a letter to Judge Kugler, enclosing a copy of the

forensic report of Zweizig's hard drive. Plaintiff also included in his letter an accusation that

Judge Kugler's law clerk had improperly met with Ware to receive from Ware a copy of the

Jones Transcript. Judge Kugler issued an order to show cause why Plaintiff should not be held in

criminal contempt for sending that letter. Plaintiff then filed a judicial ethics complaint against

Judge Kugler. Plaintiff refers to the transcript from the hearing before Judge Kugler to determine

whether Plaintiff should be held in contempt as the "Kugler Transcript." After that hearing,

Judge Kugler allegedly called Plaintiff into chambers and asked him to withdraw his judicial

ethics complaint against Judge Kugler. Plaintiff also alleges, albeit on information and belief,

that the Federal Judicial Conduct Committee "endorses" retaliation by federal judges against

litigants who file ethics complaints.

       2. Crow Arbitration

       On remand, the New Jersey state court transferred the case to arbitration in Portland,

Oregon. The parties began arbitration in 2006 with Portland attorney William Crow (since

deceased) serving as the arbitrator. Plaintiff alleges that Zweizig's Oregon attorney, Linda

Marshall, sent Crow copies of the Jones and Kugler Transcripts. Plaintiff also alleges that

Zweizig filed copies of the Jones and Kugler Transcripts in New Jersey state court before the

parties were ordered to arbitrate.

       While arbitration was pending, Plaintiff learned that Crow and Marshall had previously

been law partners for 14 years. When Plaintiff expressed concern over that prior professional

relationship, Crow notified the Arbitration Services of Portland, which then undertook the

decision of whether Crow should remain serving as the arbitrator. The Arbitration Services of

Portland ultimately decided that Crow should remain the arbitrator. The following year, Zweizig

prevailed in that arbitration. Plaintiff alleges, also on information and belief, that Judge Kugler


PAGE 9 - OPINION AND ORDER
                                                                               Attachment 2, Page 11 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page64
                                                                10ofof101
                                                                       46




and U.S. District Judge Mosman "solicited" that result from Crow. Plaintiff then filed a

professional ethics complaint against Marshall for allegedly advising Zweizig to destroy

evidence, aiding and abetting perjury, and lying to arbitrator Crow. Plaintiff also filed an

professional ethics complaint against Crow, who at the time was the Chair of the Oregon State

Bar's Disciplinary Board.

       3. Judge Papak Litigation

       Plaintiff filed a motion to vacate the arbitration award in Oregon federal court, with U.S

Magistrate Judge Paul Papak presiding. Plaintiff alleged that Crow and Marshall's prior

professional relationship improperly influenced Crow's award to Zweizig. Judge Papak,

however, confirmed the arbitration award. Plaintiff alleges that Judge Papak's refusal to vacate

the arbitration award is "self-evident" of his prejudice against Plaintiff and Judge Papak's intent

to deny Plaintiff due process. Plaintiff states that he later met with Crow in February 2017,

during which time Crow allegedly "admitted" that he did not have the stamina to look at all the

evidence during the arbitration and had used a draft opinion written by Marshall. After Crow's

death in 2020, Plaintiff dismissed his claims against Crow in this lawsuit.

C. Judge Hernandez Lawsuit

       After the conclusion of the arbitration before Crow and the affirmance of the arbitration

award in federal court by Judge Papak, Plaintiff created an online blog and began writing posts

about the arbitration. Zweizig then sued Plaintiff in Oregon federal court in 2015, alleging

retaliation and employment discrimination. In that lawsuit, Zweizig alleged that Plaintiff posted

to his blog to retaliate against Zweizig prevailing in arbitration. U.S District Judge Marco

Hernandez presided over that lawsuit, and attorneys Joel Christiansen and Linda Marshall

represented Zweizig. Plaintiff alleges that Zweizig filed copies of the Jones and Kugler

Transcripts to "bias" Judge Hernandez. Plaintiff then filed his own motion to compel arbitration,


PAGE 10 - OPINION AND ORDER
                                                                               Attachment 2, Page 12 of 48
          Case
          Case3:22-cv-00985-SI
               3:19-cv-01988-SI Document
                                Document16
                                         76 Filed
                                             Filed08/17/22
                                                   12/30/21 Page
                                                             Page65
                                                                  11ofof101
                                                                         46




which Judge Hernandez denied. Plaintiff also asserted counterclaims against Zweizig and his

attorneys, alleging defamation and malicious prosecution, among other things. Judge Hernandez

granted Zweizig and his attorneys' anti-SLAPP motion to strike Plaintiff's counterclaims.

          Zweizig's claims against Plaintiff proceeded to trial. Before trial, Judge Hernandez

granted Zweizig's motion in limine to exclude Plaintiff's forensic report of Zweizig's hard drive.

Judge Hernandez also excluded other exhibits that Plaintiff had sought to introduce. Plaintiff

alleges that Judge Hernandez "intentionally made [an] objectively unreasonable ruling to punish

Plaintiff for his free speech and to deny his right of due process," asserting that Judge Hernandez

only received in evidence five of the 60 exhibits that Plaintiff had offered in evidence. ECF 51,

192.

          Plaintiff also alleges that the court reporter in that trial, Nancy Walker, "intentionally

falsified" the trial transcript by omitting two statements that Christiansen allegedly made during

his closing argument. Christiansen allegedly stated that Plaintiff had made $4 million per year

and that the jury should consider that income in awarding damages. Plaintiff asked Walker to

check to see if she made any errors in her transcript, and Walker responded that she had made no

errors.

          At the close of the trial in 2018, the jury awarded Zweizig $1 million in damages. Judge

Hernandez applied a damages cap under Oregon law, reducing the judgment to $500,000. Both

parties appealed. On appeal, the Ninth Circuit affirmed Judge Hernandez's pretrial rulings but

certified to the Oregon Supreme Court the question of whether the statutory damages cap applied

in these circumstances. The Oregon Supreme Court answered that the cap did not apply, and the

Ninth Circuit remanded the case to Judge Hernandez, who then amended the judgment to reflect

the $1 million jury verdict. Plaintiff alleges, on information and belief, that Defendants




PAGE 11 - OPINION AND ORDER
                                                                                  Attachment 2, Page 13 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page66
                                                                12ofof101
                                                                       46




"solicited" Ninth Circuit Judge Paez, one of the judges on the panel, to refuse to follow Oregon

law in ruling against Plaintiff to "facilitate the trafficking of children."

        In March 2021, Zweizig moved for a writ as part of his execution of judgment. Zweizig

asked for a writ that would allow him to sell Plaintiffs home in Oregon. Deschutes County

Circuit Court Judge Wells Ashby granted the writ. Plaintiff alleges, on information and belief,

that Defendants "solicited" Judge Ashby to grant the writ in retaliation for Plaintiffs filing the

pending lawsuit.

D. Judge Herndon Lawsuit

        After Judge Hernandez dismissed Plaintiffs counterclaims, Plaintiff sued the Oregon

State Bar, Christiansen, and Marshall in Clackamas County Circuit Court, alleging conspiracy,

racketeering, defamation, and intentional infliction of emotional distress, among other claims.

Judge Robert Herndon presided over that lawsuit. Plaintiff alleged that the Oregon State Bar

failed to investigate properly Plaintiffs ethics complaints against Christiansen and Marshall.

Plaintiff also alleged that the Oregon State Bar, Christiansen, and Marshall conspired to retaliate

against Plaintiff for his blog posts critical of the judiciary. The Professional Liability Fund hired

counsel to represent Christiansen and Marshall.

        The defendants in that action filed anti-SLAPP motions, and Plaintiff alleges that during

the anti-SLAPP litigation, Christiansen, Marshall, and their attorneys made false statements to

the U.S. Marshal Service that Plaintiff posed a threat to Judge Jones. According to Plaintiff, the

U.S. Marshal Service then placed Plaintiff on their watch list. Plaintiff also alleges that counsel

for Christiansen and Marshall filed copies of the Jones and Kugler Transcripts to "bias" Judge

Herndon, who then granted the defendants' anti-SLAPP motions.

        Plaintiff then filed ethics complaints against Christiansen and Marshall. In the pending

lawsuit, Plaintiff alleges that Christiansen committed perjury in his declaration filed in support of


PAGE 12 -OPINION AND ORDER
                                                                                Attachment 2, Page 14 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page67
                                                                13ofof101
                                                                       46




his anti-SLAPP motion. The Oregon State Bar took no disciplinary action against Christiansen or

Marshall. Plaintiff also alleges here that the Oregon State Bar aided and abetted Christiansen and

Marshall's efforts to deny Mr. Rote's right to due process. After filing his bar complaints,

Plaintiff filed a motion to set aside the judgment dismissing his claims, contending that

Christiansen and Marshall had committed fraud on the court. Judge Herndon denied that motion.

       In the pending lawsuit, Plaintiff alleges, on information and belief, that Judge Papak

contacted Judge Herndon to request that he deny Plaintiff due process. Plaintiff then appealed the

dismissal of his claims to the Oregon Court of Appeals. Judge James Egan, a judge on the

Oregon Court of Appeals, had allegedly previously served as counsel for Zweizig. Plaintiff

requested that Judge Egan "not get involved with the appeal." ECF 51, ,r 89. Plaintiff alleges that

the appellate court ignored his request. The Oregon Court of Appeals affirmed Judge Herndon' s

dismissal. Plaintiff alleges, on information and belief, that Judge Egan solicited other members

of the Oregon Court of Appeals to affirm the dismissal without an opinion and deny Plaintiff due

process.

       Plaintiff later renewed his motion to set aside the judgment. Judge Susie Norby denied

the motion. Plaintiff alleges, on information and belief, that Judge Norby was seeking

appointment to the Oregon Court of Appeals and met with Judge Egan before ruling on the

motion and that she denied Plaintiffs motion to show her solidarity with Judge Egan.

E. Judge Mosman Lawsuit

       After the Oregon Court of Appeals affirmed Judge Herndon's dismissal of Plaintiffs

claims, Plaintiff filed a new lawsuit in Clackamas County Circuit Court in 2018 against

Marshall, Christiansen, the PLF, Carol Bernick, and Nancy Walker. Plaintiff asserted, among

other claims, a state law racketeering claim against all defendants; defamation and intentional

infliction of emotional distress claims against Marshall and Christiansen for allegedly making


PAGE 13 - OPINION AND ORDER
                                                                              Attachment 2, Page 15 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page68
                                                                14ofof101
                                                                       46




false statements to Judge Jones' s deputy clerk; a malpractice claim against his own prior attorney

for failing to file a motion to compel arbitration before filing an answer; a breach of contract

claim against the PLF for refusing to cover Plaintiffs malpractice claim; and a fraud claim

against Nancy Walker for allegedly falsifying the transcript of the trial in the Judge Hernandez

Lawsuit. The United States substituted itself as a defendant in place of Walker and then removed

the case to Oregon federal court. Judge Mosman presided over that action, granted the United

States' motion to dismiss, and entered partial judgment dismissing the United States from the

lawsuit. Judge Mosman later granted the remaining defendants' motion to dismiss. Plaintiff

alleges, on information and belief, that Judge Kugler "solicited" Judge Mosman's dismissal

because they both had served as judges on the Foreign Intelligence Surveillance Court.

       Plaintiff appealed, and the Ninth Circuit reversed and remanded. The Ninth Circuit

explained that after dismissing the only federal defendant, the court lacked subject matter

jurisdiction over the remaining state law claims. On remand, Judge Mosman sent the case back

to Clackamas County Circuit Court.

F. Present Action

       In May 2019, Plaintiff filed his complaint in this action. Plaintiff named as defendants

nearly every federal and state court judge that played a part in adjudicating his prior lawsuits, as

well as former U.S. Attorney Billy Williams, court reporter Nancy Walker, former executive

director of the PLF Carol Bernick, the Federal Judicial Conduct Committee, the U.S. Department

of Justice, the Oregon Judicial Department, the Oregon State Bar, the PLF, and the two Colorado

Defendants. Here, Plaintiff asserts the following: (1) a claim under 42 U.S.C. § 1983 against all

Defendants for violating Plaintiffs First Amendment rights; (2) a claim under§ 1983 against all

Defendants for violating Plaintiffs right to procedural due process; (3) a claim under§ 1985

against all Defendants for conspiracy to violate Plaintiffs civil rights; and (4) a claim for


PAGE 14- OPINION AND ORDER
                                                                               Attachment 2, Page 16 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page69
                                                                15ofof101
                                                                       46




declaratory and injunctive relief against the state and federal agency Defendants requiring that

they restructure the PLF, supplement training and policies to ensure the protection of free speech,

and open investigations into the individual Defendants, other individuals associated with the

Plaintiffs litigation history, the Oregon State Bar, and the PLF.

        Plaintiff originally filed his complaint in the District Court for the District of Columbia,

which transferred the action to the U.S. District Court for the District of Oregon, with Judge

Mosman presiding. After dismissing Plaintiffs complaint in the case that had been removed

from Clackamas County Circuit Court but before the Ninth Circuit reversed, Judge Mosman sua

sponte dismissed Plaintiffs claims in this lawsuit under the doctrine of claim preclusion,

formerly known as "res judicata." Plaintiff appealed that dismissal, and the Ninth Circuit

reversed. The Ninth Circuit explained that because it had vacated the judgment dismissing

Plaintiffs claims in the removed Clackamas County case, that judgment could not provide

preclusive effect in this action.

        On remand, Judge Mosman recused himself based on threats and other concerning

conduct directed at Judge Mosman and his family. After the case was reassigned to the

undersigned, the Court granted Plaintiff's motion for leave to file a second amended complaint,

which added several defendants, including Judge Mosman. Now before the Court are three

motions to dismiss, filed by the following sets of Defendants: (1) the Federal Judicial Conduct

Committee, U.S. Department of Justice, U.S. District Judge Kugler, U.S. Magistrate Judge

Papak, U.S. District Judge Hernandez, U.S. District Judge Mosman, retired court reporter Nancy

Walker, and former U.S. Attorney Billy Williams; (2) the Oregon Judicial Department, state

court Judge Robert Herndon, state court appellate Judge James Egan, and state court Judge




PAGE 15-OPINION AND ORDER
                                                                                Attachment 2, Page 17 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page70
                                                                16ofof101
                                                                       46




Kathie Steele; and (3) the PLF, former executive director of the PLF Carol Bernick, and the

Oregon State Bar.

                                          DISCUSSION

A. State Defendants' Motion to Dismiss

       1. Oregon Judicial Department

       "Generally, States are immune from suit under the terms of the Eleventh Amendment and

sovereign immunity." Whole Women's Health v. Jackson , --- S. Ct.---, 2021 WL 5855551, at *5

(2021). Specifically, under the Eleventh Amendment, states are protected from suit in federal

court. See Savage v. Glendale Union High Sch., 343 F.3d 1036, 1040 (9th Cir. 2003). That

immunity extends to state agencies and "arms of the state." Regents of the Univ. of Cal. v.

Doe, 519 U.S. 425, 429-30 (1997). There are two exceptions to the Eleventh Amendment's

jurisdictional bar: (1) Congress can abrogate the Eleventh Amendment without the consent of the

states in certain situations; and (2) a state may waive its immunity by consenting to suit in

federal court but must do so by "the most express language or by such overwhelming implication

from the text as [will] leave no room for any other reasonable construction." Micomonaco v.

State of Washington, 45 F.3d 316,319 (9th Cir. 1995) (alteration in original) (quoting

Atascadero State Hosp. v. Scanlon, 473 U .S. 234, 239-40 (1985)).

       The Oregon Judicial Department is the "predominant administrative agency" within

Oregon's judicial branch and therefore protected by Eleventh Amendment immunity. See Sharer

v. Oregon, 581 F.3d 1176, 1179 (9th Cir. 2009) (stating that the Oregon Judicial Department is

an administrative agency within Oregon's judicial branch); Hsieh v. Or. Jud. Dep 't Dist. 4

Multnomah Cnty., 2021 WL 5263192, at *3 (D. Or. Nov. 10, 2021) (stating that the Oregon

Judicial Department is equivalent to the State of Oregon); Hershey v. McMahon, 2020

WL 913087, at *4 (D. Or. Jan. 14, 2020) (stating that the Eleventh Amendment barred the


PAGE 16 - OPINION AND ORDER
                                                                              Attachment 2, Page 18 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page71
                                                                17ofof101
                                                                       46




plaintiffs suit against the Klamath County Circuit Court because it was a "part of the Oregon

Judicial Department, which is part of the State of Oregon"); Thomas v. Oregon, 2010

WL 3528723, at *l (D. Or. Sept. 8, 2010) (dismissing the plaintiffs claims against the Oregon

Judicial Department because it was immune from suit). The Court therefore lacks subject matter

jurisdiction over Plaintiffs claims against the Oregon Judicial Department unless Congress has

abrogated state sovereign immunity or the State of Oregon has waived its immunity with respect

to these claims.

       Neither exception applies here. First, Congress has not abrogated state sovereign

immunity with respect to Plaintiffs claims. Congress did not abrogate state sovereign immunity

when it enacted§§ 1983 and 1985. Milstein v. Cooley, 257 F.3d 1004, 1007 (9th Cir. 2001)

("[T]he Supreme Court has attributed to the Congress that passed§ 1983 knowledge ofthen-

existing common-law immunities, and the lack of an explicit abrogation of these immunities has

been interpreted as preserving them."); Price v. Shorty, 632 F. App'x 211,212 (5th Cir. 2016)

(stating that§ 1985 does not abrogate state sovereign immunity); Barclay v. Or. Dep 't ofJ, 2019

WL 3806043, at *2 (D. Or. Aug. 13, 2019) (stating that§ 1985 does not abrogate state sovereign

immunity). Although the Eleventh Amendment does not bar suits for prospective injunctive

relief against state officials under the Declaratory Judgment Act, see Austin v. State Indus. Ins.

Sys., 939 F.2d 676,680 n.2 (9th Cir. 1991), the Act does not abrogate Eleventh Amendment

immunity against a state or its agencies. See Kleidman v. Willhite, 2020 WL 5823278, at *12

(C.D. Cal. Aug. 20, 2020) (stating that the Eleventh Amendment barred the plaintiffs claim

under the Declaratory Judgment Act against California courts); Wielgos v. Idaho Bd. ofLand

Comm 'rs, 2016 WL 3640609, at *4 (D. Idaho June 29, 2016) (concluding that the Declaratory

Judgment Act did not abrogate the state agency defendant's Eleventh Amendment immunity);




PAGE 17 - OPINION AND ORDER
                                                                              Attachment 2, Page 19 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page72
                                                                18ofof101
                                                                       46




Emberg v. U ofMaryland U Coll. Asian Div., 3 F. Supp. 2d 1127, 1131 (D. Haw. 1998) ("The

Declaratory Judgment Act is a procedural statute, and therefore has no language regarding

abrogation of a state's Eleventh Amendment immunity.").

       Second, the State of Oregon has not consented to suit in federal court by removal or

express waiver. See Todd v. Oregon, 2014 WL 1217964, at *4 (D. Or. Mar. 19, 2014) ("[T]he

State of Oregon did not remove this action to federal court, nor does it appear that the State of

Oregon has waived its sovereign immunity from suit in federal court for civil rights actions.").

The Court therefore lacks subject matter jurisdiction over Plaintiffs claims against the Oregon

Judicial Department. Thus, the Court dismisses all of Plaintiffs claims against the Oregon

Judicial Department without prejudice, but without leave to amend in this Court. See Missouri ex

rel. Koster v. Harris, 847 F.3d 646, 656 (9th Cir. 2017) ("In general, dismissal for lack of subject

matter jurisdiction is without prejudice."); Freeman v. Oakland Unified Sch. Dist., 179 F.3d 846,

847 (9th Cir. 1999) (order) ("Dismissals for lack of jurisdiction should be without prejudice so

that a plaintiff may reassert his claims in a competent court." (simplified)).

       2. State Judges

               a. Judicial Immunity

       Judges are absolutely immune from liability for damages, declaratory relief, and

generally for injunctive relief sought as a result of judicial acts performed in their judicial

capacity. Moore v. Brewster, 96 F.3d 1240, 1243-44 (9th Cir. 1996), superseded by statute on

other grounds; Mullis v. US. Bankr. Ct.for Dist. ofNev., 828 F.2d 1385, 1388 (9th Cir. 1987);

see also Craig v. Villicana, 676 F. App'x 716 (9th Cir. 2017). To qualify for judicial immunity, a

judge must have performed "judicial acts" within the scope of his or her jurisdiction. Stump v.

Sparkman, 435 U.S. 349, 356-57 (1978). "An act is judicial in nature if it is a function normally

performed by a judge and the parties to the act were dealing with the judge in his judicial


PAGE 18 - OPINION AND ORDER
                                                                                 Attachment 2, Page 20 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page73
                                                                19ofof101
                                                                       46




capacity." McGuire v. Clackamas Cnty. Counsel, 2009 WL 4456310, at *4 (D. Or.

Nov. 24, 2009) (citing Stump, 435 U.S. at 362). Judges have "absolute immunity even when their

actions are erroneous, malicious, or in excess of judicial authority." Tanner v. Heise, 879

F.2d 572, 576 (9th Cir. 1989).

       Further, allegations that judicial decisions were "conditioned upon a conspiracy or

bribery," including allegations that a judge entered into a conspiracy "to predetermine the

outcome of a judicial proceeding, while clearly improper, nevertheless does not pierce the

immunity extended to judges." Ashelman v. Pope, 793 F.2d 1072, 1078 (9th Cir. 1986) (en

bane). Judicial immunity applies so long as "the judge's ultimate acts are judicial actions taken

within the court's subject matter jurisdiction." Id.; see also McCarthy v. Mayo, 827

F.2d 1310, 1314-15 (9th Cir. 1987) (holding that allegations of conspiracy do not remove quasi-

judicial immunity); Khazali v. Berns, 2016 WL 4479915, at *2 (W.D. Wash. Aug. 24, 2016)

("Judicial immunity applies even if there are allegations that a judicial decision resulted from a

bribe or a conspiracy."); Gozzi v. County ofMonterey, 2014 WL 6988632, at *7 (N.D. Cal.

Dec. 10, 2014) ("Moreover, even if the Judicial Defendants had acted corruptly and received

bribes, as Plaintiff appears to allege, they would still be immune from Plaintiffs§ 1983 claim.").

       Plaintiff brings his§§ 1983 and 1985 claims against state Judges Herndon, Egan, and

Steele for their alleged solicitation of rulings unfavorable to Plaintiff from other judges. Plaintiff

conceded in his briefing on Defendants' motions to dismiss that judicial immunity applies to a

judge's judicial acts, such as ruling on motions and presiding over trials. Plaintiff contends,

however, that judicial immunity does not protect these judges' "solicitation" of adverse rulings

from other judges. For purposes of the pending motions to dismiss, the Court will assume




PAGE 19 - OPINION AND ORDER
                                                                                Attachment 2, Page 21 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page74
                                                                20ofof101
                                                                       46




without deciding that solicitation of adverse rulings from other judges is a nonjudicial act that is

not protected by judicial immunity.

                       i.   Judge Herndon

       Plaintiff alleges that Judge Herndon had a "quid pro quo" arrangement with the PLF at

the time he granted the anti-SLAPP motion dismissing Plaintiff's claims against Marshall,

Christiansen, and the OSB in Clackamas County Circuit Court. ECF 51, ,r 17. Plaintiff also

alleges that Judge Herndon: (a) admitted that the Jones and Kugler Transcripts influenced his

decision to grant the anti-SLAPP motion, (b) refused to consider Plaintiff's new evidence while

his order of dismissal was on appeal, (c) later denied Plaintiff's motion to set aside the judgment,

and (d) engaged in a conspiracy with federal Judges Kugler, Papak, and Mosman to retaliate

against Plaintiff's critiques of courts and deny him due process. ECF 51, ,r,r 85, 88, 158. These

acts, even considering Plaintiff's allegations of conspiracy and bribery, are judicial in nature for

which Judge Herndon has absolute judicial immunity. See Ashe/man, 793 F .2d at 1078

(reviewing the Ninth Circuit's line of cases regarding judicial immunity and concluding that

allegations of conspiracy or bribery, including a conspiracy to predetermine the outcome of a

case, do not foreclose judicial immunity). The Court therefore dismisses Plaintiff's claims

against Judge Herndon with prejudice, concluding that any further amendment would be futile.

                       ii. Judge Egan

       Plaintiff alleges that Judge Egan, a judge on the Oregon Court of Appeals, solicited other

judges on the Oregon Court of Appeals to affirm Judge Herndon's dismissal of Plaintiff's claims

without an opinion and without considering his new evidence. ECF 51, ,r,r 18, 90, 156. Plaintiff

alleges that Judge Egan is seeking appointment as a federal magistrate judge and was part of a

broader conspiracy with other state and federal judges to retaliate against Plaintiff by denying

him due process. ECF 51, ,r,r 90, 158. Even if Judge Egan had wanted or sought appointment as a


PAGE 20 - OPINION AND ORDER
                                                                               Attachment 2, Page 22 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page75
                                                                21ofof101
                                                                       46




federal magistrate judge, the Court concludes that, based on the allegations presented, it is not

plausible that Judge Egan would have improperly solicited the Oregon Court of Appeals'

decision in retaliation against Plaintiff. This allegation is therefore not entitled to a presumption

of truth because Plaintiff has not alleged sufficient underlying facts in support. See Starr, 652

F.3d at 1216 ("[T]o be entitled to the presumption of truth, allegations in a complaint or

counterclaim may not simply recite the elements of a cause of action but must contain sufficient

allegations of underlying facts to give fair notice and to enable the opposing party to defend itself

effectively.").

        Plaintiff also alleges that Judge Egan asked Judge Norby, a state trial judge with the

Clackamas County Circuit Court, to deny Plaintiffs renewed motion to set aside the judgment in

the Judge Herndon Lawsuit. ECF 51, ,r 95. Plaintiff argues that this conduct by Judge Egan is not

subject to judicial immunity because it does not involve a judicial act by Judge Egan, who was

not adjudicating a case involving Plaintiff.

        Plaintiff alleges, on information and belief, that Judge Norby is seeking appointment to

the Oregon Court of Appeals and so denied Plaintiff's motion at Judge Egan's request as an "act

of solidarity" with Judge Egan. ECF 51, ,r 95. As with Plaintiffs allegations about Judge Egan's

alleged pursuit of a federal magistrate position, even if Judge Norby had wanted or sought

appointment to the Oregon Court of Appeals, Plaintiffs allegations that either Judge Egan or

Judge Norby would act improperly, without further allegations, are not plausible. Thus,

Plaintiffs conclusory allegation that Judge Egan solicited Judge Norby's denial of Plaintiffs

motion in retaliation against him is not well-pleaded. See Starr, 652 F.3d at 1216; see also Fields

v. Palmdale Sch. Dist., 427 F.3d 1197, 1208-09 (9th Cir. 2005) (rejecting the plaintiffs'




PAGE 21-OPINION AND ORDER
                                                                                Attachment 2, Page 23 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page76
                                                                22ofof101
                                                                       46




allegation made "on information and belief' and stating: "the allegation is entirely speculative

and conclusory in nature. No facts are offered in support of the [plaintiffs'] theory").

       Accordingly, Plaintiff has not alleged sufficient facts to show that Judge Egan engaged in

the nonjudicial act of improperly speaking with a judge in another court to solicit a particular

ruling adverse to Plaintiff. The Court therefore dismisses Plaintiffs claims against Judge Egan

arising from any alleged nonjudicial acts without prejudice. If Plaintiff believes that he can

allege sufficient facts to show with plausibility that his claims against Judge Egan are not subject

to judicial immunity, he may file a motion to amend under Rule 15 that complies with Local

Rule 15-1.

                       iii. Judge Steele

       Plaintiff alleges that Judge Steele denied Plaintiffs motion for default judgment against

Zweizig, refused to reopen a protective order under seal, approved of her staffs refusal to allow

Plaintiff to file documents in several cases, and conspired with federal Judges Kugler, Papak, and

Mosman to retaliate against Plaintiff by denying him due process. ECF 51, ,r,r 23, 107, 109, 158.

These acts, even considering Plaintiffs allegations of conspiracy, are all judicial in nature for

which Judge Steele has absolute judicial immunity. See Ashelman, 793 F .2d at 1078. The Court

therefore dismisses Plaintiffs claims against Judge Steele arising from these judicial acts with

prejudice.

       Plaintiff also alleges that Judge Steele requested legal representation for Zweizig from the

PLF and solicited state trial Judge Ann Lininger, who serves on the Clackamas County Circuit

Court, to award Zweizig "excessive and unlawful legal fees" incurred in litigating an anti-

SLAPP motion to strike Plaintiffs counterclaims in a fraudulent transfer action related to the

judgment against him in the Judge Hernandez Lawsuit. ECF 51, ,r,r 23, 115. Assuming without

deciding that these acts are nonjudicial, the Court nevertheless concludes that Plaintiffs


PAGE 22 - OPINION AND ORDER
                                                                               Attachment 2, Page 24 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page77
                                                                23ofof101
                                                                       46




allegations are implausible, at least without more, and thus conclusory and not well-pleaded.

Plaintiff has alleged no facts supporting his conclusion that Judge Steele improperly asked the

PLF to provide representation to Zweizig or asked Judge Lininger to award excessive fees in the

fraudulent transfer action. Plaintiff, therefore, has failed to allege sufficient facts to show that

Judge Steele engaged in any actionable nonjudicial acts. See Starr, 652 F.3d at 1216. The Court

dismisses Plaintiffs claims against Judge Steele arising from any nonjudicial acts without

prejudice. If Plaintiff believes that he can allege sufficient facts showing his claims against Judge

Steele arise from nonjudicial acts, he may file a motion to amend under Rule 15 that complies

with Local Rule 15-1.

                b. 42 U.S.C. § 1985

       Plaintiff asserts a claim under § 1985 against all Defendants, alleging a conspiracy to

deprive him of civil rights. To state a claim for conspiracy to discriminate under 42

U.S.C. § 1985(3), however, a plaintiff must allege the following four elements:

                (1) a conspiracy; (2) for the purpose of depriving, either directly or
                indirectly, any person or class of persons of the equal protection of
                the laws, or of equal privileges and immunities under the laws; and
                (3) an act in furtherance of this conspiracy; (4) whereby a person is
                either injured in his person or property or deprived of any right or
                privilege of a citizen of the United States.

Carpenters v. Scott, 463 U.S. 825, 828-29 (1983). To satisfy the first element, a plaintiff must

show the existence of a conspiracy or that the defendants agreed to deprive or attempt to deprive

the plaintiff of a protected right. See Scott v. Ross, 140 F.3d 1275, 1284 (9th Cir. 1998); see

also Winstead v. District of Columbia, 840 F. Supp. 2d 149, 161 (D.D.C. 2012). "A mere

allegation of conspiracy without factual specificity is insufficient." Karim-Panahi v. L.A. Police

Dep 't, 839 F.2d 621,626 (9th Cir. 1988). An express agreement need not be proven-the

"conspiracy can be inferred from conduct." Scott, 140 F.3d at 1284; see also United States v.



PAGE 23 - OPINION AND ORDER
                                                                                 Attachment 2, Page 25 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page78
                                                                24ofof101
                                                                       46




Calabrese, 825 F.2d 1342, 1348 (9th Cir. 1987). A plaintiff must also show that the conspiracy

was "motivated by a purpose (malevolent or benign) directed specifically at" a protected

class. Bray v. Alexandria Women's Health Clinic, 506 U.S. 263,270 (1993).

       Even if Plaintiff could allege sufficient facts to overcome judicial immunity, he still fails

to state a claim under § 1985 against the state judge Defendants because he has not alleged that

they engaged in any discrimination based on a protected class. Plaintiff argues that he was

discriminated against as a "class of one." The Supreme Court, however, has recognized a class-

of-one equal protection claim only "where the plaintiff alleges that [he or] she has been

intentionally treated differently from others similarly situated and that there is no rational basis

for the difference in treatment." Vill. of Willowbrook v. Olech, 528 U.S. 562, 564 (2000).

Plaintiff asserts that "collusion between state and federal actors" shows discrimination against

him as a class of one. Plaintiff does not, however, plausibly allege facts showing that the state

judge Defendants treated him differently than similarly situated individuals without any rational

basis. Thus, even if Plaintiff had alleged facts showing his§ 1985 claim arose out of the state

judge Defendants' nonjudicial acts, his § 1985 claim would still fail because he has not alleged

discrimination based on a protected class or as a class of one. The Court therefore dismisses

Rote's § 1985 claim without prejudice. If Plaintiff believes that he can plausibly allege sufficient

facts showing that Judges Egan or Steele engaged in nonjudicial acts that amounted to

discrimination against Plaintiff as a "class of one" by treating him without a rational basis he

may file a motion to amend under Rule 15 that complies with Local Rule 15-1.

B. PLF and Bernick's Motion to Dismiss

       1. 42   u.s.c. § 1983
       Plaintiff asserts two claims under § 1983 against the PLF and its former executive

director, Bernick. Plaintiffs first claim alleges that these Defendants violated his right to


PAGE 24 - OPINION AND ORDER
                                                                                Attachment 2, Page 26 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page79
                                                                25ofof101
                                                                       46




freedom of speech under the United States Constitution. 2 His second claim alleges that these

Defendants deprived him of due process, as guaranteed under the United States Constitution.

               a. Standards

       To state a claim under 42 U.S.C. § 1983, a complaint must allege that a defendant, while

acting under color of state law, caused a deprivation of the plaintiff's federal rights. 42 U.S.C.

§ 1983; West v. Atkins, 487 U.S. 42, 48 (1988); Taylor v. List, 880 F.2d 1040, 1045 (9th

Cir. 1989). When a plaintiff asserts a claim under § 1983, the plaintiff must show both causation-

in-fact and proximate (i.e., legal) causation. See Harper v. City ofLos Angeles, 533 F.3d 1010,

1026 (9th Cir. 2008). Allegations of causation in a § 1983 claim "must be individualized and

focus on the duties and responsibilities of each individual defendant whose acts or omissions are

alleged to have caused a constitutional deprivation." Leer v. Murphy, 844 F.2d 628, 633 (9th

Cir. 1988). "Sweeping conclusory allegations [regarding causation] will not suffice." Id. Instead,

the plaintiff must allege that he or she suffered a specific injury caused by the specific conduct of

a defendant and also must show an affirmative link between the injury and the conduct of that

defendant. See Rizzo v. Goode, 423 U.S. 362, 371-72, 377 (1976).

       An entity other than a natural person, such as a local governmental entity, "may not be

sued under§ 1983 for an injury inflicted solely by its employees or agents." Monell v. Dep 't of

Soc. Servs., 436 U.S. 658,694 (1978). Instead, an entity "is subject to suit under§ 1983 only 'if

it is alleged to have caused a constitutional tort through a policy statement, ordinance, regulation,



       2  Plaintiff also references the Oregon Constitution in his § 1983 claim, but § 1983 allows
a plaintiff to sue for violations only of federal, not state, law. See Galen v. City ofLos
Angeles, 477 F.3d 652,662 (9th Cir. 2007) (stating that§ 1983 requires a plaintiff"to
demonstrate a violation of federal law, not state law"); Canel! v. Or. Dep 't ofJustice, 811 F.
Supp. 546, 550 (D. Or. 1993) ("[O]nly violations of the federal constitution or federal law are
cognizable under 42 U.S.C. § 1983, not state law violations.").



PAGE 25 - OPINION AND ORDER
                                                                               Attachment 2, Page 27 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page80
                                                                26ofof101
                                                                       46




or decision officially adopted and promulgated by that body's officers."' Grave/et-Blondin v.

Shelton, 728 F.3d 1086, 1096-97 (9th Cir. 2013) (quoting City ofSt. Louis v. Parprotnik, 485

U.S . 112, 121 (1988)). Monell liability may exist without any formal policy permitting the

challenged conduct where the government entity has a "longstanding practice or custom which

constitutes the standard operating procedure of the local government entity." Trevino v.

Gates, 99 F.3d 911, 918 (9th Cir. 1996) (quoting Gillette v. Delmore, 979 F.3d 1342, 1346 (9th

Cir. 1992)); see also Gordon v. County of Orange, 6 F.4th 961, 973 (9th Cir. 2021) (noting that a

plaintiff can show a policy or practice through "a longstanding practice or custom" in addition to

"an expressly adopted official policy").

       Under narrow circumstances, a government entity's failure to train its employees may be

considered a policy or custom. City of Canton v. Harris, 489 U.S. 378, 389 (1989) ("Only where

a municipality's failure to train its employees in a relevant respect evidences a deliberate

indifference to the rights of its inhabitants can such a shortcoming be properly thought of as a

city policy or custom that is actionable under§ 1983."). "[A] pattern of similar constitutional

violations by untrained employees is ordinarily necessary to demonstrate deliberate

indifference." Connick v. Thompson, 563 U .S. 51, 62 (2011) (simplified). In still rarer instances,

however, the duties of a specific employee make the need for certain training obvious. City of

Canton, 489 U .S. at 390. A classic example involves the duty of a police officer to chase fleeing

felons; that duty makes the need for training on the constitutional use of force by officers

obvious. Id. at 390 n.10.

       Monell liability also may be triggered "when the individual who committed the

constitutional tort was an official with final policy-making authority or such an official ratified a

subordinate's unconstitutional decision or action and the basis for it." Gordon , 6 F.4th at 974




PAGE 26 - OPINION AND ORDER
                                                                               Attachment 2, Page 28 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page81
                                                                27ofof101
                                                                       46




(quotation marks omitted). To prevail on a ratification theory, a plaintiff must show both that

wrongdoer's decision was "cast in the form of a policy statement" and that a supervisor with

policy making authority expressly approved of the decision. Gillette, 979 F.3d at 1348.

       Additionally, there is no respondeat superior liability under§ 1983. Taylor v. List, 880

F.2d 1040, 1045 (9th Cir. 1989). "A defendant may be held liable as a supervisor under§ 1983

'if there exists either (1) his or her personal involvement in the constitutional deprivation, or

(2) a sufficient causal connection between the supervisor's wrongful conduct and the

constitutional violation."' Starr, 652 F.3d at 1207 (quoting Hansen v. Black, 885 F .2d 642, 646

(9th Cir. 1989)). The requisite showing can be established by demonstrating that the supervisor:

( 1) set in motion a series of acts by others or knowingly refused to terminate a series of acts by

others, which the supervisor knew or reasonably should have known would cause others to inflict

constitutional injury; (2) had his or her own culpable action or inaction in the training,

supervision, or control of his or her subordinates; (3) acquiesced in the constitutional deprivation

by subordinates; or (4) engaged in conduct that shows reckless or callous indifference to the

rights of others. Id. at 1207-08; see also Felarca v. Birgeneau, 891 F.3d 809, 820 (9th Cir. 2018)

("The requisite causal connection can be established by setting in motion a series of acts by

others, or by knowingly refusing to terminate a series of acts by others, which the supervisor

knew or reasonably should have known would cause others to inflict a constitutional injury."

(quoting Starr, 652 F.3d at 1207-08)). "A plaintiff must allege facts, not simply conclusions, that

show that an individual was personally involved in the deprivation of [the plaintiffs] civil

rights." Barren v. Harrington, 152 F.3d 1193, 1194 (9th Cir. 1998). A supervisor might be liable

despite not personally participating in the alleged deprivation if the supervisor "implement[ed] a

policy so deficient that the policy itself is a repudiation of constitutional rights and is the moving




PAGE 27 - OPINION AND ORDER
                                                                                Attachment 2, Page 29 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page82
                                                                28ofof101
                                                                       46




force of a constitutional violation." Crowley v. Bannister, 734 F.3d 967, 977 (9th Cir. 2013)

(simplified).

                b. Analysis

       At oral argument, Plaintiff emphasized that the basis for his claims against the PLF and

Bernick is the PLF's decision to hire a lawyer to represent Zweizig in his lawsuit before

Judge Steele "without insurance liability to Zweizig." Plaintiff contends the PLF made this

decision in retaliation against him for his posts about the PLF on his blog and for his lawsuits

filed against other PLF-represented lawyers. For purposes of the pending motions to dismiss, the

Court will assume without deciding that the PLF and Bernick are state actors under§ 1983.

                       i.   Supervisor Liability

       For his free speech retaliation claim, Plaintiff alleges that the PLF retaliated against him

for his blog posts critical of the PLF and that the PLF heeded to the requests of Zweizig and his

attorneys to "punish Rote for Rote's critiques of the Court." ECF 51, ,r 127. This punishment

allegedly took the form of providing legal representation to Zweizig without charge. ECF 51,

,r,r 108, 127. Plaintiff alleges that Bernick authorized the decision to provide legal representation
for Zweizig. ECF 51 , ,r,r 22, 108. These allegations, however, fail to state a First Amendment

retaliation claim under§ 1983 because Plaintiff has not alleged facts showing that it is plausible

that the PLF decided to provide legal representation to Zweizig in retaliation against Plaintiffs

blog posts, rather than for the legitimate interests of the PLF. The fact that Plaintiff posted

comments critical of the PLF does not make plausible his conclusory allegation that the PLF

retaliated against him by providing legal representation without a legitimate basis to Zweizig,

who is not an attorney. For example, the PLF may very well have decided to provide "repair

counsel" to Zweizig after his PLF-insured attorney became unavailable. Plaintiff alleges no other

facts in support of his conclusion. Without more, he fails plausibly to state a First Amendment


PAGE 28 - OPINION AND ORDER
                                                                                Attachment 2, Page 30 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page83
                                                                29ofof101
                                                                       46




retaliation claim under§ 1983. Further, if the PLF did not retaliate against Plaintiff, then Bernick

may not be held liable for her personal involvement in the PLF's action and there would be no

causal connection between her and any alleged constitutional violation by the PLF.

        As for his procedural due process claim, Plaintiff alleges that Bernick knew that counsel

hired by the PLF filed the Jones and Kugler Transcripts in the Judge Herndon Lawsuit. ECF 51,

,r 84. Plaintiff also alleges, on information and belief, that the PLF maintains an "offshore bank
account" from which it draws funds to "bribe judges" to hand down rulings favorable to the PLF.

ECF 51, ,r 10. As explained above, the Court will not accept as plausible these sorts of

speculative, conclusory, and unsupported allegations. Plaintiff alleges no facts to support his

conclusion that the PLF maintains an offshore bank account, let alone one used to bribe judges.

Plaintiff also has not alleged that Bernick knew of or participated in those alleged actions. Thus,

the Court does not fmd plausible Plaintiffs conclusory allegations. See Fields, 427 F.3d

at 1208-09; Starr, 652 F.3d at 1216 (stating that to be entitled to a presumption of truth,

allegations in a complaint "may not simply recite the elements of a cause of action but must

contain sufficient allegations of underlying facts to give fair notice and to enable the opposing

party to defend itself effectively").

        This leaves Bernick's alleged knowledge of the filing of the Jones and Kugler Transcripts

as the sole basis for Rote's procedural due process claim against Bernick. "A procedural due

process claim has two elements: ' ( 1) a deprivation of a constitutionally protected liberty or

property interest, and (2) a denial of adequate procedural protections."' Miranda v. City of Casa

Grande, 15 F.4th 1219, 1224 (9th Cir. 2021) (quoting Franceschi v. Yee, 887 F.3d 927,935 (9th

Cir. 2018)). "The touchstone of procedural due process is notice and an opportunity to be heard."

Id. at 1225. The fact that Bernick may have had knowledge that a PLF-provided attorney filed




PAGE 29 - OPINION AND ORDER
                                                                               Attachment 2, Page 31 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page84
                                                                30ofof101
                                                                       46




the Jones and Kugler Transcripts in a pending legal proceeding is insufficient to show that

Bernick deprived Plaintiff of his right to due process. Further, Plaintiff has not alleged that he

was deprived of any notice and or opportunity to be heard with respect to the filing of those

transcripts. If counsel filed either the Jones or Kugler Transcripts in the Judge Herndon Lawsuit,

Plaintiff would have had a fair opportunity to object or to move to strike them, both before Judge

Herndon at the trial court level and later before the Oregon Court of Appeals on appeal.

Bernick's approval or knowledge that PLF-hired attorneys may have filed the transcripts does

not amount to a violation of Plaintiffs right to procedural due process. Plaintiff, therefore, fails

to state a procedural due process claim against Bernick under§ 1983. Thus, the Court dismisses

Plaintiffs§ 1983 claims against Bernick without prejudice. If Plaintiff believes that he can

allege sufficient facts to support his § 1983 claim against Bernick, he may file a motion to amend

under Rule 15 that complies with Local Rule 15-1.

                       ii. Monell Liability

       The Ninth Circuit applies Monell to private entities acting under the color of state law

sued under§ 1983. Tsao v. Desert Palace, Inc., 698 F.3d 1128, 1139 (9th Cir. 2012). The PLF is

not a private entity but also not, strictly speaking, a local government entity such as a county or

city as contemplated in Monell. Because the Ninth Circuit has held that the standards for§ 1983

liability under Monell also extend to private entities acting under the color of state law, the Court

assumes without deciding that Monell liability applies to quasi-public organizations, such as the

PLF. Thus, Plaintiff must adequately allege that the PLF implemented a policy, custom, or well-

settled practice that caused a violation of his constitutional rights, or a decisionmaker made or

ratified the alleged violation. Gordon, 6 F.4th at 973-94. Ifhe alleges that the PLF's failure to

train its employees caused the constitutional violations, he must also adequately allege that the




PAGE 30 - OPINION AND ORDER
                                                                                Attachment 2, Page 32 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page85
                                                                31ofof101
                                                                       46




failure amounted to a deliberate indifference to his constitutional rights. See City of Canton, 489

U.S. at 389.

       Plaintiff alleges that the PLF failed adequately to train and supervise its employees,

which led to the violation of his constitutional rights. ECF 51, ,r 146. Plaintiff, however, does not

identify exactly how the PLF failed to train its employees or which of the PLF's policies led to

the "overt and tacit encouragement" of the alleged constitutional violations. ECF 51, ,r 146. Nor

does Plaintiff allege facts showing that any PLF policy amounted to a deliberate indifference to

his constitutional rights. Instead, Plaintiff argues only that the PLF's "full endorsement" of the

filing the Jones and Kugler Transcript "ten times in five separate lawsuits is self-evident" of the

PLF's pattern or practice of constitutional violations. ECF 60, at 17. Filing a transcript in more

than one lawsuit, however, does not show a policy or custom that leads to a constitutional

violation. Plaintiff therefore fails to state a§ 1983 claim under Monell against the PLF. Thus, the

Court dismisses Plaintiffs§ 1983 claims against the PLF without prejudice. If Plaintiff believes

that he can allege sufficient facts to support his§ 1983 claim against the PLF, he may file a

motion to amend under Rule 15 that complies with Local Rule 15-1 .

       2. 42 u.s.c. § 1985

       As explained above, to state a § 1985 claim, a plaintiff must allege discrimination based

on a protected class. See Bray, 506 U.S. at 270. Plaintiff has not alleged that the PLF or Bernick,

or indeed any Defendant, engaged in any discrimination based on a protected class. As with the

State Defendants, Plaintiff argues that the PLF and Bernick discriminated against him as a "class

of one." See Vill. of Willowbrook, 528 U.S. at 564. Plaintiff argues that the PLF and Bernick's

alleged approval of filing the Jones and Kugler Transcripts in the five separate lawsuits

constitutes discrimination against him as a "class of one." Approval of filing transcripts from

hearings in prior cases, however, does not show that the PLF and Bernick treated Plaintiff


PAGE 31 - OPINION AND ORDER
                                                                               Attachment 2, Page 33 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page86
                                                                32ofof101
                                                                       46




differently than similarly situated individuals. Further, Plaintiff has not plausibly alleged facts

showing that any differential treatment from filing those transcripts lacked a rational basis.

Plaintiff, therefore, has failed to state a § 1985 claim against either the PLF or Bernick. Thus, the

Court dismisses Plaintiffs§ 1985 claim against these Defendants without prejudice. If Plaintiff

believes that he can plausibly allege sufficient facts to state a claim under§ 1985, he may file a

motion to amend under Rule 15 that complies with Local Rule 15-1.

       3. 28 u.s.c. § 2201

       The Declaratory Judgment Act, 28 U.S.C. § 2201, allows individuals to seek a

declaration of the constitutionality of a disputed governmental action. See Duke Power Co. v.

Carolina Envtl. Study Grp., Inc., 438 U.S. 59, 71 n.15 (1978). If there is an actual controversy

between the parties, the court has discretion whether to exercise jurisdiction over a claim for

declaratory judgment. Argonaut Ins. Co. v. St. Francis Med. Ctr., --- F.4th ---, 2021

WL 5314015, at *3 (9th Cir. 2021) ("[A] district court is 'under no compulsion to exercise [its]

jurisdiction' over declaratory claims." (quoting Brillhart v. Excess Ins. Co. ofAm., 316 U.S. 491,

494 (1942))).

       Here, Plaintiff seeks a declaration that Defendants violated his rights under the First and

Fourteenth Amendments to the U.S. Constitution. ECF 51, ,r 167. Because the Court concludes

that Plaintiff fails to state any claim against the PLF or Bernick, the Court declines to exercise

jurisdiction over Plaintiffs claim for declaratory relief. See Staacke, 841 F.2d at 280 (stating that

the Declaratory Judgment Act does not create an independent basis for subject matter

jurisdiction). Plaintiff also seeks sweeping injunctive relief against the United States and State of

Oregon but does not seek any injunctive relief against the PLF or Bernick. Thus, to the extent

Plaintiff intended to seek injunctive relief against the PLF or Bernick, the Court dismisses that

claim without prejudice.


PAGE 32 - OPINION AND ORDER
                                                                                Attachment 2, Page 34 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page87
                                                                33ofof101
                                                                       46




C. Federal Defendants' Motion to Dismiss

        1. Federal Judges

       Many of Plaintiffs allegations about the federal judge Defendants involve actions taken

in their judicial capacity and are therefore barred by judicial immunity. As with the state judge

Defendants, Plaintiff stated at oral argument that his claims against the federal judge Defendants

arise out of their nonjudicial acts, such as soliciting rulings from other judges that were adverse

to Plaintiff. Assuming without deciding that judicial immunity would not protect those acts,

Plaintiff has not alleged sufficient facts plausibly to support his conclusory allegations that these

judges improperly solicited from another judge any retaliatory ruling unfavorable to Plaintiff.

Still yet, even if Plaintiff could allege sufficient facts to support his conclusions that these federal

judge Defendants engaged in activity outside the scope of their absolute judicial immunity,

Plaintiff could not state any claim against these federal Defendants because there is no Bivens

claim available against this class of Defendants for First Amendment retaliation or violations of

procedural due process and the Court declines to extend Bivens. Thus because any amendment

would be futile, for the reasons explained below, the Court dismisses Plaintiffs Bivens claims

against the federal judge Defendants with prejudice.

                a. Judicial Immunity

       As explained above with respect to the state judge Defendants, judges have absolute

immunity for judicial acts performed in their judicial capacity. Moore, 96 F.3d at 1243-44;

Mullis, 828 F.2d at 1388. Many of Plaintiffs allegations about the federal judge Defendants

challenge judicial acts protected by absolute judicial immunity.

                       i.   Judge Kugler

       Plaintiff alleges that during the hearing on the order to show cause why he should not be

held in contempt for sending a letter to Judge Kugler, Judge Kugler encouraged the U.S.


PAGE 33 - OPINION AND ORDER
                                                                                 Attachment 2, Page 35 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page88
                                                                34ofof101
                                                                       46




Attorney's Office to pursue criminal contempt charges against Plaintiff for sending that letter

and later asked Plaintiff to withdraw the judicial ethics complaint that Plaintiff filed against

Judge Kugler. ECF 51, ,r,r 48-49. Plaintiff also alleges that Judge Kugler remanded Plaintiff's

case to New Jersey state court and "strategized" with counsel representing the parties adverse to

Plaintiff about litigation strategy. ECF 51, ,r,r 42, 159. These acts are all judicial in nature and

protected by absolute judicial immunity. The Court therefore dismisses Plaintiff's claims against

Judge Kugler arising from these allegations with prejudice.

        Plaintiff also alleges that Judge Kugler requested that the PLF provide legal

representation to Zweizig for free. Assuming without deciding that this request is a nonjudicial

act, Plaintiff has failed to allege sufficient facts showing the plausibility of Plaintiff's contention

that U.S. District Judge Kugler called the PLF. Plaintiff fails to provide any well-pleaded facts in

support of his conclusory allegation. Plaintiff also alleges that Judge Kugler solicited various

rulings adverse to Plaintiff from other judges, including U.S. Magistrate Judge Papak, state court

Judge Weishaupl, U.S. District Judge Mosman, or arbitrator Crow. ECF 51, ,r,r 15-16, 57, 71,

103. Plaintiff fails to support his speculative and conclusory allegations, many of which are made

on information and belief, with sufficient supporting facts. The only supporting fact that Plaintiff

offers is that Judges Kugler and Mosman both served as judges on the Foreign Intelligence

Surveillance Court. ECF 51, ,r 103. That fact, however, does not make Plaintiff's other

allegations plausible, especially that Judge Kugler called Judge Mosman to request that he rule

against Plaintiff. Thus, Plaintiff's conclusory allegations do not overcome judicial immunity.

Further, because there is no Bivens claim available to Plaintiff, as explained below, the Court

dismisses Plaintiff's Bivens claim against Judge Kugler with prejudice.




PAGE 34 - OPINION AND ORDER
                                                                                 Attachment 2, Page 36 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page89
                                                                35ofof101
                                                                       46




                       ii. Judge Papak

       Plaintiff alleges that Judge Papak confirmed Crow's arbitration award, ignored evidence

in confirming the arbitration award, refused to recuse himself, engaged with counsel representing

parties adverse to Plaintiff about litigation strategy, and granted motions to quash. ECF 51, ,r,r

15, 63, 142, 159. These are all judicial acts that provide Judge Papak with absolute judicial

immunity. The Court therefore dismisses with prejudice Plaintiffs claims against Judge Papak

arising from these judicial acts.

       Plaintiff also alleges, on information and belief, that Judge Papak called Judge Herndon

to request that he deny Plaintiff due process. ECF 51, ,r 88. This allegation does not overcome

judicial immunity because Plaintiff has not alleged sufficient facts to establish plausibility. See

Fields, 427 F.3d at 1208-09. Thus, Plaintiff has alleged no facts to support his conclusory

allegation made on information and belief. As explained below, because there is no Bivens claim

available to Plaintiff, the Court dismisses Rote's Bivens claim against Judge Papak with

prejudice.

                       iii. Judge Hernandez

       Plaintiffs only allegations about U.S. District Judge Hernandez concern only judicial

acts that are protected by absolute judicial immunity. Plaintiff alleges that Judge Hernandez

granted a motion to quash Plaintiffs subpoena for the recordings of the jury trial, denied his

request to interview the jury in that trial, denied certain discovery requests, granted a motion in

limine that prevented Plaintiff from introducing evidence of the forensic report concerning

Zweizig's hard drive, and conspired with other judges in making these rulings. ECF 51, ,r,r 14,

91, 100, 159. Even accepting Plaintiffs factual allegations of conspiracy, Plaintiff only

challenges action that are judicial acts and thus protected by judicial immunity. See

Ashelman, 793 F.2d at 1078.


PAGE 35 - OPINION AND ORDER
                                                                               Attachment 2, Page 37 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                               Document16
                                        76 Filed
                                            Filed08/17/22
                                                  12/30/21 Page
                                                            Page90
                                                                 36ofof101
                                                                        46




       Plaintiff also alleges that it "is not known" who ordered the destruction of the recording

of the jury trial in the Judge Hernandez Lawsuit, but he alleges that Judge Hernandez was the

only one with authority to do so. ECF 51, ,r 101. Even if Judge Hernandez had asked the court

reporter (Walker) to destroy the recording of the trial (and Plaintiff has alleged absolutely no

evidence of that), such an act would be judicial in nature because it involved actions taken in a

judge's judicial capacity. See McGuire, 2009 WL 4456310, at *4 ("An act is judicial in nature if

it is a function normally performed by a judge and the parties to the act were dealing with the

judge in his judicial capacity." (citing Stump, 435 U.S. at 362)); see also Tanner, 879 F.2d at 576

(stating that judges have "absolute immunity even when their actions are erroneous, malicious,

or in excess of judicial authority"). As explained below, because there is no Bivens claim

available to Plaintiff, the Court dismisses Plaintiff's Bivens claim against Judge Hernandez with

prejudice.

                       iv. Judge Mosman

       Plaintiff alleges that U.S. District Judge Mosman refused to recuse himself and that he

relied on false allegations to dismiss Plaintiff's claims against lawyers represented by the PLF.

ECF 51, ,r,r 13, 114. Plaintiff alleges that the fact Judge Mosman relied on false allegations in

making that ruling is "self-evident of a quid pro quo" agreement between him and the PLF and

that he should have disclosed that agreement to Plaintiff. ECF 51, ,r,r 13, 114. Even without

considering Plaintiff's allegations to be entirely speculative and conclusory and even if there

were such an agreement, Judge Mosman's order dismissing Plaintiff's claims is a judicial act and

thus protected by absolute judicial immunity. See Ashe/man, 793 F.2d at 1078.

       Plaintiff argues that judicial immunity does not apply to that dismissal because the Ninth

Circuit later concluded that Judge Mosman lacked subject matter jurisdiction over some of the

claims. To lose the protection of judicial immunity, however, a judge must act in clear absence


PAGE 36 - OPINION AND ORDER
                                                                               Attachment 2, Page 38 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page91
                                                                37ofof101
                                                                       46




of all subject matter jurisdiction, not merely in excess of jurisdiction. See Mullis, 828 F .2d

at 1389 (distinguishing between "an act in the clear absence of jurisdiction" and "an act in excess

of jurisdiction" for purposes of judicial immunity and stating that a "clear absence of all

jurisdiction means a clear lack of all subject matter jurisdiction"); see also Malina v.

Gonzales, 994 F.2d 1121, 1125 (5th Cir. 1993) ("Where a court has some subject-matter

jurisdiction, there is sufficient jurisdiction for immunity purposes."). Further, "the scope of the

judge's jurisdiction must be construed broadly where the issue is the immunity of the judge."

Stump v. Sparkman, 435 U.S. 349,357 (1978).

        Judge Mosman's dismissal of Plaintiffs claims against the non-federal defendants is

protected by judicial immunity because he acted only in excess of jurisdiction with respect to

some of Plaintiffs claims and retained jurisdiction over Plaintiffs claims asserted against

Walker. In other words, when Judge Mosman dismissed Plaintiffs claims against Walker and

the other non-federal defendants, he did not act in clear absence of all jurisdiction. Thus, Judge

Mosman's orders of dismissal are protected by judicial immunity. The Court dismisses with

prejudice Plaintiffs claims against Judge Mosman arising from those judicial acts.

       Plaintiff also alleges, on information and belief, that Judge Mosman requested that the

PLF to provide Zweizig with representation, solicited arbitrator Crow to find in favor of Zweizig,

and ordered court reporter Walker to destroy the recordings of the jury trial from the Judge

Hernandez Lawsuit. Further, Plaintiff alleges that Judge Mosman "solicited" rulings adverse to

Plaintiff from Judges Papak, Steele, and Lininger. ECF 51, ,r,r 15, 107, 116. Plaintiff, however,

does not support these speculative and conclusory allegations with any facts and thus has failed

to show plausibility. See Starr, 652 F.3d at 1216. Accordingly, these allegations also do not

overcome judicial immunity. Finally, as explained below, because there is no Bivens claim




PAGE 37 - OPINION AND ORDER
                                                                                Attachment 2, Page 39 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page92
                                                                38ofof101
                                                                       46




available to Plaintiff, the Court dismisses Plaintiff's Bivens claim against Judge Mosman with

prejudice.

               b. Bivens

       Even if Plaintiff could allege facts sufficient to overcome judicial immunity for what he

contends are nonjudicial acts, Plaintiff could not state a Bivens claim against any of the federal

judge Defendants because there is no available Bivens claim that would be implicated under

these facts. At oral argument, all parties agreed to treat Plaintiff's§ 1983 claims against the

Federal Defendants as if they were alleged under Bivens. 3 See Hartman v. Moore, 547 U.S. 250,

255 n.2 (2006) ("[A] Bivens action is the federal analog to suits brought against state officials

under . . . 42 U.S.C. § 1983.").

       The Supreme Court has thus far accepted the availability of Bivens actions in only three

contexts: violation of the Fourth Amendment's prohibition of unreasonable searches and

seizures; violation of the Eighth Amendment's prohibition of cruel and unusual punishment; and

violation of the Fifth Amendment's prohibition of sex discrimination. See Ziglar v. Abbasi, 13 7

S. Ct. 1843, 1854-55 (2017) (describing the three Bivens contexts). The Supreme Court "has

made clear that expanding the Bivens remedy is now a 'disfavored' judicial activity." Id. at 1857.

Extending Bivens "is a significant step under separation-of-powers principles," and Congress is

the branch of government with the "substantial responsibility to determine whether, and the




       3  Section 1983 provides recourse only for the actions of persons acting under color of
state law, not federal law, although the law violated must be federal. See District of Columbia v.
Carter, 409 U.S. 418, 424-25 (1973). Congress enacted§ 1983 as a mechanism to hold state
officials accountable in federal court. Id., at 427-28. Section 1983 is not the proper mechanism to
sue federal officials. Id. Instead, a Bivens action allows plaintiffs to sue federal officials for
violations of certain constitutional rights. See Bivens v. Six Unknown Named Agents ofFed.
Bureau ofNarcotics, 403 U.S. 388,397 (1971).



PAGE 38 - OPINION AND ORDER
                                                                               Attachment 2, Page 40 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page93
                                                                39ofof101
                                                                       46




extent to which, monetary and other liabilities should be imposed upon individual officers and

employees of the Federal Government." Id. at 1856.

       The Supreme Court "has 'consistently refused to extend Bivens [liability] to any new

context or new category of defendants.' ... for the past 30 years." Id. at 1857 (quoting Corr.

Servs. Corp. v. Malesko, 534 U.S. 61, 68 (2001))). "The [Supreme] Court's precedents now

make clear that a Bivens remedy will not be available if there are 'special factors counselling

hesitation in the absence of affirmative action by Congress."' Id. (quoting Carlson v. Green, 446

U.S. 14, 18 (1980)). Thus, in considering possible extensions of Bivens, courts "engage in a two-

step inquiry." Hernandez v. Mesa, 140 S. Ct. 735, 743 (2020). The first step is to "inquire

whether the request involves a claim that arises in a 'new context' or involves a 'new category of

defendants."' Id. (quoting Malesko, 534 U.S . at 68). If so, the second step is to "ask whether

there are any special factors that counsel hesitation about granting the extension." Id.

(simplified).

       Plaintiffs claims present a new context because they arise under different constitutional

rights (the First Amendment and the Fifth Amendment right to procedural due process) and

involve a new category of defendants, namely, federal judges. Plaintiff has not alleged that

Defendants conducted an unreasonable search or seizure, imposed cruel and unusual punishment,

or discriminated against him based on sex. Because Plaintiffs claims arise in a new context, the

Court considers whether any special factors counsel hesitation. The Court finds persuasive the

special factors described in the Federal Defendants' motion. ECF 64, at 25-26. These factors

include: (1) Plaintiffs ability to appeal the underlying legal decisions that he claims were

improperly influenced by the federal judges, which serves as an alternative remedial structure to

a new Bivens claim; and (2) the fact that the legislative branch is best positioned to determine




PAGE 39 - OPINION AND ORDER
                                                                              Attachment 2, Page 41 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page94
                                                                40ofof101
                                                                       46




federal employees' exposure to monetary damages for constitutional torts, which raises

separation of powers concerns. Accordingly, the Court declines to extend Bivens to this context.

Because there is no Bivens claim available to Plaintiff even ifhe could allege facts sufficient to

overcome judicial immunity, the Court dismisses Plaintiffs Bivens claims against federal Judges

Kugler, Papak, Hernandez, and Mosman with prejudice.

               c. 42 u.s.c. § 1985

       Even if Plaintiff could plead sufficient facts to overcome judicial immunity, Plaintiffs

claim under § 1985 against these Defendants would fail because he has not alleged facts showing

that the federal judge Defendants engaged in any conspiracy to discriminate against Plaintiff

based any protected class. See Bray, 506 U.S. at 270. Instead, as with his§ 1985 claim against

the PLF and Bernick, Plaintiff contends that the federal judge Defendants discriminated against

him as a "class of one" as recognized in Village of Willowbrook. Plaintiff argues that the federal

judge Defendants discriminated against him as a class of one by considering the Jones and

Kugler Transcripts filed in their cases. ECF 65, at 19. Plaintiff contends that consideration of that

evidence affected these judges' rulings. The fact that the federal judge Defendants may have

considered the Jones and Kugler Transcripts filed in their own cases, however, does not show

that those judges treated Plaintiff differently than other similarly situated individuals and did so

with no rational basis. It also squarely runs into the problem of judicial immunity because these

challenged actions involve judicial determinations in the judges' own cases, which are judicial

acts, not nonjudicial acts. Thus, Plaintiff has failed to state a claim under§ 1985 against the

federal judge Defendants. Because he did not allege any nonjudicial conduct to support his

§ 1985 claim against the federal judge Defendants, the Court dismisses this claim with prejudice.




PAGE 40 - OPINION AND ORDER
                                                                               Attachment 2, Page 42 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page95
                                                                41ofof101
                                                                       46




        2. Walker

                a. Issue Preclusion

        The Federal Defendants argue that both issue and claim preclusion bar Plaintiffs claims

against court reporter Walker. Issue preclusion, also known as collateral estoppel, "precludes

relitigation of an issue already litigated and determined in a previous proceeding between the

same parties." Pike v. Hester, 891F.3d1131, 1138 (9th Cir. 2018); see also Rabi v. Five

Platters, Inc., 838 F.2d 318,322 (9th Cir. 1988) ("The doctrine of issue preclusion prevents

relitigation of all issues of fact or law that were actually litigated and necessarily decided in a

prior proceeding .... The issue must have been actually decided after a full and fair opportunity

for litigation." (quotation marks and citations omitted)). The party asserting issue preclusion

must show: (1) the issue at stake was identical in both proceedings; (2) the issue was actually

litigated in the prior proceedings; (3) there was a full and fair opportunity to litigate the issue;

and (4) the issue was necessarily decided, which is also described as necessary or essential to the

judgment. See Howard v. City of Coos Bay, 871 F.3d 1032, 1041 (9th Cir. 2017).

        The Federal Defendants argue that the accuracy of Walker's transcript was already

litigated in the Judge Hernandez Lawsuit, the case in which Walker allegedly falsified the jury

trial transcript. Federal Defendants argue that issue preclusion applies because Judge Hernandez

already denied Plaintiffs motion to compel Walker's transcription materials. See 3:15-cv-2401-

HZ, ECF 313. Whether Walker falsified the trial transcript, however, was not necessary to the

resolution of that motion to compel and thus was not actually litigated or decided in

Judge Hernandez's order. The order simply states: "Defendant has provided no basis for the

Court to compel the production of Ms. Walker's recordings. The proper avenue for Defendant to

challenge the accuracy of the certified transcript is through Federal Rule of Appellate




PAGE 41 - OPINION AND ORDER
                                                                                 Attachment 2, Page 43 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page96
                                                                42ofof101
                                                                       46




Procedure 10." 3:15-cv-2401-HZ, ECF 313. Thus, Defendants have not shown that the issue of

the accuracy of the trial transcript was fully litigated in the Judge Hernandez Lawsuit.

       The Federal Defendants also argue that the issue of the accuracy of Walker's transcript

was fully litigated in the Judge Mosman Lawsuit. After the conclusion of the Judge Hernandez

Lawsuit, Plaintiff added Walker as a defendant in the Judge Mosman Lawsuit and asserted

claims against her for fraud and intentional infliction of emotional distress. The United States

substituted itself as a defendant in place of Walker and removed the case to federal court.

Judge Mosman then dismissed the United States from the case because Plaintiffs claims against

Walker did not fall within the United States' waiver of sovereign immunity under the FTCA.

See 3:19-cv-82-MO, ECF 38, at 7. Plaintiff did not appeal Judge Mosman's order dismissing the

United States from the case.

       The Federal Defendants argue that in the Judge Mosman Lawsuit, as in this lawsuit,

Plaintiff claimed that the defendants, including Walker, conspired to deprive him of due process.

The Federal Defendants argue that claim against Walker in the Judge Mosman Lawsuit required

resolution of whether Walker falsified the Judge Hernandez trial transcript. That issue, however,

was never "actually litigated" in the Judge Mosman Lawsuit. Instead, Judge Mosman dismissed

the United States from the case for lack of subject matter jurisdiction. Issue preclusion therefore

does not apply.

               b. Claim Preclusion

       Under the doctrine of claim preclusion, "a final judgment on the merits of an action

precludes the parties or their privies from relitigating issues that were or could have been raised

in that action." Federated Dep 't Stores, Inc. v. Moitie, 452 U.S. 394,398 (1981). An action is

barred when an earlier adjudication: (1) involved the same claim as the later action, (2) reached a




PAGE 42 - OPINION AND ORDER
                                                                              Attachment 2, Page 44 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page97
                                                                43ofof101
                                                                       46




final judgment on the merits, and (3) involved the same parties or their privies. Cent. Delta

Water Agency v. United States, 306 F.3d 938, 952 (9th Cir. 2002).

       Under Rule 41(b) of the Federal Rules of Civil Procedure, a dismissal for lack of subject

matter jurisdiction is not an adjudication on the merits. The Supreme Court has held that a

dismissal for lack of jurisdiction under Rule 41 (b) is "not ordinarily a bar to a subsequent action

on the same claim" because "there must be at least one decision on a right between the parties"

before preclusionary principles apply. Costello v. United States, 365 U.S. 265,285 (1961)

(quotation marks omitted); see also Haywood v. Drown, 556 U.S. 729, 766 (2009) (Thomas, J.,

dissenting) ("And because the dismissal of§ 1983 claims from state court pursuant to NYCLA

§ 24 is for lack of subject-matter jurisdiction, it has no preclusive effect on claims refiled in

federal court and thus does not alter the substance of the federal claim." (citations omitted)); cf

CRST Van Expedited, Inc. v. EEOC, 578 U.S. 419,433 (2016) (describing dismissal based on

sovereign immunity as a dismissal for "nonmerits reasons"). The Ninth Circuit similarly has

described that a dismissal for lack of subject matter jurisdiction does not serve as an adjudication

on the merits for purposes of claim preclusion. See Harris v. Arizona Bd. ofRegents, 730 F.

App'x 439,440 (9th Cir. 2018) (concluding that a dismissal for lack of subject matter

jurisdiction "would not constitute an adjudication on the merits" and citing Rule 41 (b) of the

Arizona Rules of Civil Procedure, which is the same in relevant part as the Rule 41 (b) of the

Federal Rules of Civil Procedure); In re Brooks-Hamilton, 271 F. App'x 654, 657 (9th Cir. 2008)

(stating that "[a] dismissal for lack of subject matter jurisdiction is not a final judgment on the

merits, Fed. R. Civ. P. 41(b)" and concluding that such a dismissal precludes a subsequent

determination of the issue of jurisdiction but not a subsequent determination of any merits issue);

In re Elias, 216 F.3d 1082, 2000 WL 431589, at *1 (9th Cir. 2000) (unpublished table decision)




PAGE 43 - OPINION AND ORDER
                                                                                Attachment 2, Page 45 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page98
                                                                44ofof101
                                                                       46




("A dismissal for sovereign immunity, however, is based on jurisdictional grounds; therefore, it

is not a decision on the merits for res judicata purposes, at least as to parties other than the

state."); cf Hampton v. Pac. Inv. Mgmt. Co. LLC, 869 F.3d 844, 846 (9th Cir. 2017)

("Dismissals for lack of subject-matter jurisdiction ... must be without prejudice, because a lack

of jurisdiction deprives the dismissing court of any power to adjudicate the merits of the case.").

       As discussed in the cases cited above, Judge Mosman's dismissal for lack of subject

matter jurisdiction does not give rise to claim preclusion. See also Wood v. County of Contra

Costa, 2020 WL 1505717, at *3 (N.D. Cal. Mar. 30, 2020) ("The Prior Action, however, was

dismissed for lack of subject matter jurisdiction under the 'Rooker-Feldman' doctrine, and a

dismissal for lack of subject matter jurisdiction does not operate as an adjudication on the merits.

Accordingly, to the extent the First Cause of Action is asserted on behalf of TP, it is not barred

by resjudicata." (citations omitted)); Watson v. Chessman, 362 F. Supp. 2d 1190, 1194 (S.D.

Cal. 2005) ("Dismissal for lack of subject matter jurisdiction is not a judgment on the merits, and

therefore it has no claim preclusive or res judicata effect."). The Court next considers the merits

of Plaintiffs claims against Walker.

                c. Bivens

       As explained above, the parties agreed to treat Plaintiffs§ 1983 claims against the

Federal Defendants as alleged under Bivens. As with Plaintiffs claims against the federal judges,

Plaintiffs claim against Walker presents a new Bivens context and a new type of defendant.

Plaintiff alleges that Walker retaliated against Plaintiffs exercise of his free speech rights by

intentionally omitting two statements from the jury trial transcript in the Judge Hernandez

Lawsuit and later destroying the recordings of that trial allegedly at the request of either Judge

Hernandez or Judge Mosman. Plaintiff also asserts these acts amount to a violation of his right to

procedural due process. These claims depart from the recognized Bivens contexts because they


PAGE 44 - OPINION AND ORDER
                                                                                 Attachment 2, Page 46 of 48
        Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                              Document16
                                       76 Filed
                                           Filed08/17/22
                                                 12/30/21 Page
                                                           Page99
                                                                45ofof101
                                                                       46




arise under different constitutional rights and involve a new class of defendants, here, court

reporters. See Abbasi, 137 S. Ct. at 1854-55. Plaintiff has not alleged that Walker conducted an

unreasonable search and seizure, inflicted cruel and unusual punishment, or discriminated

against him based on sex. For the reasons stated above with respect to the federal judge

Defendants, the Court declines to extend Bivens to Plaintiffs claims against Walker. Because

there is no Bivens claim available to Plaintiff for his claims against Walker, the Court dismisses

Plaintiffs Bivens claim against Walker with prejudice.

                d. 42 U.S.C. § 1985

       A plaintiff may sue under § 1985 for the conspiracies committed by private actors.

Griffin v. Breckenridge, 403 U.S. 88, 101 (1971). Thus, Plaintiffs claim under§ 1985 against

Walker does not fail for lack of state action. Rather, Plaintiffs claim under§ 1985 against fails

because Plaintiff has not alleged sufficient facts plausibly showing that Walker engaged in a

conspiracy to discriminate against Plaintiff based on any protected class. See Bray, 506 U.S.

at 270. As with Plaintiffs claims under§ 1985 against the PLF, Bernick, and the federal judge

Defendants, Plaintiff contends that Walker discriminated against him as a "class of one," a

theory recognized in Village of Willowbrook. Plaintiff, however, fails to allege sufficient facts

plausibility to state a claim under that theory. Accordingly, the Court dismisses Plaintiffs claim

under§ 1985 claim against Walker without prejudice. If Plaintiff believes that he can allege

sufficient facts showing that Walker discriminated against him as a "class of one," he may file a

motion to amend under Rule 15 that complies with Local Rule 15-1.

D. Leave to Amend

        Plaintiff requests leave to amend his Second Amended Complaint. The Court, however,

will not consider that request in the abstract. If Plaintiff believes that he can cure the deficiencies

identified in this Opinion and Order, he may file a motion to amend under Rule 15 if his motion


PAGE 45 - OPINION AND ORDER
                                                                                 Attachment 2, Page 47 of 48
       Case
        Case3:22-cv-00985-SI
             3:19-cv-01988-SI Document
                               Document16
                                        76 Filed
                                            Filed08/17/22
                                                  12/30/21 Page
                                                            Page100
                                                                 46 of 101
                                                                       46




complies with Local Rule 15-1 by attaching a proposed Third Amended Complaint. Further,

Plaintiff only may move for leave to amend with respect to the claims that the Court has

dismissed without prejudice in this Opinion and Order. These claims are Plaintiffs claims under

§§ 1983 and 1985 against Judge Egan and Judge Steele arising from any nonjudicial acts;

Plaintiffs claims under§§ 1983, 1985, and 2201 against the PLF and Bernick; and Plaintiffs

claim under§ 1985 against Walker. In addition, Plaintiff may not add any new defendants in a

proposed Third Amended Complaint.

                                        CONCLUSION

       The Court GRANTS all pending motions to dismiss (ECF 55, ECF 56, and ECF 64) and

dismisses all claims asserted against all Defendants other than the Colorado Judicial Department

and Colorado Judge Elizabeth Weishaupl.

       IT IS SO ORDERED.

       DATED this 30th day of December, 2021.

                                                    Isl Michael H. Simon
                                                    Michael H. Simon
                                                    United States District Judge




PAGE 46 - OPINION AND ORDER
                                                                            Attachment 2, Page 48 of 48
             Case 3:22-cv-00985-SI      Document 16            Filed 08/17/22    Page 101 of 101




                                    CERTIFICATE OF SERVICE

             I certify that on August 17 , 2022, I served the foregoing DECLARATION OF

     NATHANIEL AGGREY IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS upon the

     parties hereto by the method indicated below, and addressed to the following:

      Timothy C. Rote                                          HAND DELIVERY
      7427 SW Coho Ct. #200                                  X MAIL DELIVERY
      Tualatin, OR 97062                                       OVERNIGHT MAIL
             Plaintiff Pro Se                                  TELECOPY (FAX)
                                                             X E-MAIL timothy.rote@gmail.com
                                                               E-SERVE




                                                            s/ Nathaniel Aggrey
                                                        NATHANIEL AGGREY #172283
                                                        Assistant Attorney General
                                                        Trial Attorney
                                                        Tel (503) 947-4700
                                                        Fax (503) 947-4791
                                                        Nathaniel.Aggrey@doj.state.or.us
                                                        Of Attorneys for Defendants Oregon Judicial
                                                        Department, Emerson, Kamins, Liniger,
                                                        Mooney, Steele, and Wise




Page 1 -   CERTIFICATE OF SERVICE
           NA3/km7/522550677
                                                  Department of Justice
                                                  1162 Court Street NE
                                                 Salem, OR 97301-4096
                                          (503) 947-4700 / Fax: (503) 947-4791
